Case 1:18-cv-02192-HG-PK       Document 25         Filed 07/05/18   Page 1 of 82 PageID #: 110




  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ____________________________________
  AHARON MILLER, SHANI MILLER,         :
  ADIYA MILLER, PETER STEINHERZ, :                   Case No. 18-cv-2192 (BMC)(PK)
  LAUREL STEINHERZ, JOSEPH            :
  GINZBERG, TEMIMA STEINHERZ,          :
  HADASSAH DINER, EFRAT FINE,         :              AMENDED COMPLAINT
  YAEL HILLMAN, REUVEN FRIEDMAN, :
  CHAVIVA BRAUN, YEHUDA BRAUN, :
  YONI BRAUN, MATANYA BRAUN,           :
  ELIANA BRAUN PERETZ, ORIELLA         :
  BRAUN, ADINA MISHER, ADINA           :
  MISHER ON BEHALF OF THE ESTATE :
  OF AARON HAAR, RHODA SOKOLOW, :
  REHA SOKOLOW ON BEHALF OF THE :
  ESTATE OF AL SOKOLOW, NOAM           :
  SOKOLOW, DAVID SOKOLOW,              :
  SYLVIA HAAR, AVRUM HAAR,            :
  ALEXANDER ROZENSTEIN, ESTHER :
  ROZENSTEIN, ELI COHEN, SARAH        :
  ELYAKIM, JOSEPH COHEN, LUDWIG :
  BAUER, LUDWIG BAUER ON BEHALF :
  OF THE ESTATE OF ELLA BAUER,         :
  PHILLIP BAUER, MYRIAM MILLER,        :
  CHANA AIDEL MILLER                  :
  SCHERTZMAN, TOVA MILLER,             :
  ROBERT SINGER, YITZHAK ZAHAVY, :
  JULIE ZAHAVY, TZVEE ZAHAVY and :
  BERNICE ZAHAVY,                      :
                                       :
                    Plaintiffs,        :
                                       :
        -against-                      :
                                       :
  ARAB BANK, PLC,                     :
                                       :
                    Defendant.         :
  ____________________________________


        Plaintiffs Aharon Miller, Shani Miller, Adiya Miller, Peter Steinherz, Laurel Steinherz,

  Joseph Ginzberg, Temima Steinherz, Hadassah Diner, Efrat Fine, Yael Hillman, Reuven

  Friedman, Chaviva Braun, Yehuda Braun, Yoni Braun, Matanya Braun, Eliana Braun Peretz,



                                               1
Case 1:18-cv-02192-HG-PK                Document 25            Filed 07/05/18        Page 2 of 82 PageID #: 111




  Oriella Braun, Adina Misher, Adina Misher on behalf of the Estate of Aaron Haar, Rhoda

  Sokolow, Reha Sokolow on behalf of the Estate of Al Sokolow, Noam Sokolow, David Sokolow,

  Sylvia Haar, Avrum Haar, Alexander Rozenstein, Esther Rozenstein, Eli Cohen, Sarah Elyakim,

  Joseph Cohen, Ludwig Bauer, Ludwig Bauer on behalf of the Estate of Ella Bauer, Phillip Bauer,

  Myriam Miller, Chana Aidel Miller Schertzman, Tova Miller, Robert Singer, Yitzhak Zahavy,

  Julie Zahavy, Tzvee Zahavy, and Bernice Zahavy, by their attorneys, allege the following.

                                         NATURE OF THE ACTION

          1.       This is a complaint for damages arising out of the unlawful conduct of Arab Bank,

  PLC (“Arab Bank”) – a Jordanian bank headquartered in Amman, Jordan with a federal agency1

  in the State of New York. Arab Bank knowingly provided, distributed, and administered financial

  benefits, money and financial services to: (a) terrorists who killed, injured and maimed civilians,

  or attempted to do so; (b) the families and beneficiaries of such terrorists; and (c) Foreign Terrorist

  Organizations (“FTOs”) (as that term is defined in 8 U.S.C. § 1189 of the Antiterrorism and

  Effective Death Penalty Act of 1996 (“AEDPA”)).

          2.       In so doing, Defendant Arab Bank committed acts of international terrorism and

  aided and abetted the commission of acts of international terrorism as defined by 18 U.S.C. § 2331,

  resulting in the killing, attempted killing and maiming of scores of American citizens in Israel

  between September 2000 and December 2004 during the Second Intifada,2 including the family

  members of the Plaintiffs, violated the prohibitions on providing material support for acts of

  international terrorism set forth in the Anti-Terrorism Act (“ATA”) as amended by the AEDPA



  1
           Until 2005, Arab Bank operated a wholly-owned branch in New York that provided correspondent banking
  services to other Arab Bank branches located around the world including branches in the West Bank and the Gaza
  Strip (collectively: the “Palestinian Territories”).
  2
           The Second Intifada refers to the violent conflict that broke out in September 2000 between the Palestinians
  and Israel. It is generally considered to have ended in December 2004.


                                                           2
Case 1:18-cv-02192-HG-PK           Document 25          Filed 07/05/18     Page 3 of 82 PageID #: 112




  (see, e.g., 18 U.S.C. §§ 2339A, 2339B) and is civilly liable under § 2333 of the ATA to those

  American citizens (and their estates, survivors and heirs) who have been killed or injured in their

  person, property or business by reason of such acts of international terrorism.

                                       JURISDICTION AND VENUE

          3.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

  1331 and 18 U.S.C. §§ 2333, 2338, as a civil action brought by citizens of the United States who

  have been killed or injured by reason of acts of international terrorism, and their estates, survivors,

  and heirs.

          4.      Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) and (d) and 18

  U.S.C. § 2334(a).

          5.      Arab Bank is subject to personal jurisdiction in the State of New York pursuant to

  18 U.S.C. § 2334(a), CPLR § 302, and Fed. R. Civ. P. 4(k)(1)-(2) because it has transacted business

  and committed tortious acts within the United States by transferring funds through the United

  States for the benefit of the FTO Islamic Resistance Movement (“HAMAS”), and other terrorist

  organizations and has purposefully availed itself of United States jurisdiction in the course of

  committing the wrongful acts alleged herein.

          6.      As set forth more fully below, Arab Bank maintained a large number of Eurodollar

  accounts in Lebanon, the Palestinian Territories and elsewhere on behalf of HAMAS entities and

  operatives, Palestinian Islamic Jihad (“PIJ”) entities and operatives and numerous U.S., European

  and Israeli designated terrorists.

          7.      Accordingly, Arab Bank knowingly directed millions of dollars through its own

  (then operating) New York branch both to Palestinian terrorist organizations and to individual

  terrorists and their families.




                                                    3
Case 1:18-cv-02192-HG-PK           Document 25         Filed 07/05/18    Page 4 of 82 PageID #: 113




         8.      Although set forth in detail below, several obvious examples of how Arab Bank

  purposefully availed itself of United States jurisdiction during the course of committing the

  wrongful acts alleged herein include:

                 (a)      clearing tens of millions of dollars in New York on behalf of the Saudi
                          Committee in Support of the Intifada Al Quds (hereinafter referred to as the
                          “Saudi Committee”) in Saudi currency and converting it to U.S. dollars that
                          it ultimately distributed to individual terrorists and their families;

                 (b)      processing at least $2,000,000 for the Holy Foundation in Texas to at least
                          four HAMAS entities in the Palestinian Territories that held accounts at
                          Arab Bank;

                 (c)      processing at least $32,000,000 for HAMAS entities in the Palestinian
                          Territories that held accounts at Arab Bank; and

                 (d)      processing at least several million dollars through New York for senior
                          HAMAS leaders. See attached Exhibit 1.


                                            THE PARTIES

  A.     The Plaintiffs

               THE BEN YEHUDA STREET BOMBINGS OF DECEMBER 1, 2001

         9.      In the late evening of December 1, 2001, two HAMAS suicide bombers, Nabil

  Halabiya and Osama Bahar, blew themselves up in a pedestrian mall in Jerusalem as part of a

  coordinated double suicide bombing. A large quantity of nails was packed with each of the bombs.

  Eleven people were killed and 188 people were injured.

         10.     Bahar had been recruited by Jamal al-Tawil, the chairman of the Al-Islah Charitable

  Society since 2000.

         11.     The Al-Islah Charitable Society was one of HAMAS’ key charitable front

  organizations in the West Bank between 2000 and 2004.

         12.     Al Islah Charitable Society also maintained accounts with Arab Bank.




                                                   4
Case 1:18-cv-02192-HG-PK            Document 25         Filed 07/05/18     Page 5 of 82 PageID #: 114




          13.     Halabiya received a “prisoner payment” from the Saudi Committee before the

  attack, and his family received a “martyr payment” after the attack. Both were paid through Arab

  Bank.

          14.     Halabiya’s mother also received an Iranian sponsored “martyr” payment from the

  Shahid Foundation in Lebanon (discussed below) via Arab Bank.

          15.     After the two suicide bombings, HAMAS terrorists detonated a car bomb near the

  site of the first two attacks.

  The Miller Family

          16.     Plaintiff Aharon Miller is a citizen of the United States and a resident of the State

  of Israel. He is the brother of Netanel Miller.

          17.     Plaintiff Shani Miller is a citizen of the United States and a resident of the State of

  Israel. She is the sister of Netanel Miller.

          18.     Plaintiff Adiya Miller is a citizen of the United States and a resident of the State of

  Israel. She is the sister of Netanel Miller.

          19.     Netanel Miller, a United States citizen, was with friends enjoying ice cream at the

  pedestrian mall in Jerusalem when one of the HAMAS suicide bombers detonated his explosives

  a few feet from him. Netanel had his back to the bomber, and he was thrown to the ground as a

  result of the explosion.

          20.     A nut from the bomb lodged in the upper part of Netanel’s leg. Other nuts hit him

  in the back, resulting in burns. His hand and knee were also injured.

          21.     Netanel, in shock and unaware of the severity of his injuries, attempted to walk

  home, limping on his injured leg. After walking approximately 30 feet, Netanel collapsed on the




                                                    5
Case 1:18-cv-02192-HG-PK           Document 25          Filed 07/05/18     Page 6 of 82 PageID #: 115




  sidewalk. Only then did Netanel become aware of how much he was bleeding from the wounds he

  had sustained in his leg. His attempts to use pressure to stop the bleeding were unsuccessful.

         22.     Some people stopped to help him, and Netanel handed them his cellular phone,

  asking them to call his parents, Arie and Chaya Miller. Netanel spoke to his father, who had been

  an Army medic. Arie asked Netanel specific questions about his condition and insisted Netanel

  seek medical help.

         23.     Ultimately, Netanel was taken to Shaare Zedek Hospital by ambulance. Since

  Netanel had lost a great deal of blood, he was given a blood transfusion.

         24.     Arie came to the hospital. Chaya arrived an hour or so later after she found someone

  to stay with her other children at her home.

         25.     Netanel was admitted to the hospital and remained there for two days.

         26.     Netanel endured the pain in his leg for nearly two years.

         27.     The pain in Netanel’s leg became so severe that he had to undergo surgery, and the

  nut that was still lodged in his leg was finally removed.

         28.     It is still painful for Netanel to hike, an activity that he has always enjoyed.

         29.     Netanel had flashbacks as a result of the attack and underwent psychological

  counseling.

         30.     As a result of the attack, and the injuries Netanel Miller sustained, Plaintiffs Aharon

  Miller, Shani Miller, and Adiya Miller have experienced severe mental anguish and extreme

  emotional pain and suffering.

  The Steinherz Family

         31.     Plaintiff Peter Steinherz is a citizen of the United States, and a resident of the State

  of New York and this District. He is the father of Jonathan Steinherz.




                                                    6
Case 1:18-cv-02192-HG-PK            Document 25          Filed 07/05/18     Page 7 of 82 PageID #: 116




          32.     Plaintiff Laurel Steinherz is a citizen of the United States, and a resident of the State

  of New York and this District. She is the mother of Jonathan Steinherz.

          33.     Plaintiff Joseph Ginzberg is a citizen of the United States and a resident of the State

  of New York. He is the father of Altea Steinherz.

          34.     Plaintiff Temima Steinherz is a citizen of the United States and a resident of the

  State of Israel. She is the daughter of Altea Steinherz.

          35.     Altea Steinherz and Jonathan Steinherz are United States citizens.

          36.     On December 1, 2001, Altea Steinherz was nine months pregnant. Altea and

  Jonathan were at a restaurant in Jerusalem when they heard a bomb explode nearby.

          37.     Altea wanted to get home to her daughter who was being babysat at the time, but

  she knew that bombings in Israel were frequently followed by a second bomb intended to kill or

  injure people fleeing from the first bomb.

          38.     A short time later Altea and Jonathan heard another bomb explode. Believing the

  bombing was now over, they began to walk home.

          39.     While walking in the street, they saw a crazed looking man run past them. Altea

  thought that he might have been the bomber and insisted that the couple turn around, away from

  the direction from which the man had come.

          40.     As they began to run, Altea fell twice, and she broke her left arm as a result of one

  of the falls.

          41.     She experienced severe pain in her arm after the attack and continued to experience

  pain for many years afterward.

          42.     Altea was afraid that, as a result of her falls, her pregnancy might have terminated.

          43.     Until her son, Yitzhak, was born 11 days later, Altea and Jonathan feared for the




                                                     7
Case 1:18-cv-02192-HG-PK             Document 25       Filed 07/05/18     Page 8 of 82 PageID #: 117




  condition of their unborn child.

         44.     Altea became less self-confident and more fearful generally. She had sleeping

  difficulties and underwent psychological counseling.

         45.     Jonathan felt tremendous anxiety and stress, had significant difficulty sleeping, and

  underwent psychological counseling.

         46.     As a result of the attack, and the injuries Jonathan Steinherz sustained, Plaintiffs

  Peter Steinherz and Laurel Steinherz have experienced severe mental anguish and extreme

  emotional pain and suffering.

         47.     As a result of the attack, and the injuries Altea Steinherz sustained, Plaintiff Joseph

  Ginzberg has experienced severe mental anguish and extreme emotional pain and suffering.

         48.     As a result of the attack, and the injuries Altea Steinherz sustained, Plaintiff

  Temima Steinherz has experienced severe mental anguish and extreme emotional pain and

  suffering.

         THE KARNEI SHOMRON PIZZERIA BOMBING OF FEBRUARY 16, 2002

         49.     Three teenagers were killed and 28 people were injured, six seriously, when a

  suicide bomber blew himself up next to a crowded pizzeria on Saturday night, February 16, 2002

  in the Yovelim shopping mall in Karnei Shomron. Two of the teenagers murdered and several of

  the injured were U.S. citizens.

         50.     The terrorist was an operative of one of the paramilitary factions of the Palestine

  Liberation Organization (“PLO”), later identified as Sadiq A’id Mahmud Abd al-Hafez.

         51.     Al-Hafez’s father received a “martyr payment” from the Saudi Committee through

  his account at Arab Bank in Qalqilya.




                                                   8
Case 1:18-cv-02192-HG-PK             Document 25         Filed 07/05/18    Page 9 of 82 PageID #: 118




  The Trattner Family

          52.     Plaintiff Hadassah Diner is a citizen of the United States and a resident of the State

  of Israel. She is the sister of Hillel Trattner.

          53.     Plaintiff Efrat Fine is a citizen of the United States and a resident of the State of

  Israel. She is the sister of Hillel Trattner.

          54.     Plaintiff Yael Hillman is a citizen of the United States and a resident of the State of

  Israel. She is the sister of Hillel Trattner.

          55.     Hillel Trattner, a United States citizen, and his wife, Ronit Trattner, had finished

  eating at the pizzeria in the Yovelim shopping mall when al-Hafez detonated his explosives.

          56.     As a result of the explosion, Hillel Trattner was struck in the head by shrapnel and

  sustained nerve damage to his left eye. His left eardrum was ruptured, necessitating an operation

  on that ear. The surgery was only partially successful, and he continues to suffer from hearing loss

  in his left ear. Hillel further suffered from impaired speech for a period of time.

          57.     To this day, shrapnel remains lodged in Hillel’s brain and it remains unclear

  whether the shrapnel will cause further injury to him in the future.

          58.     The heat of the blast burned Hillel’s face and hands. He sustained nerve damage to

  his fingers and the sole of his foot. Shrapnel remains lodged in his right hand and was removed

  from his ankle.

          59.     After the attack, Hillel was taken to the hospital where he remained for ten days

  before being transferred to a rehabilitation center. But after a bad reaction to the prescribed

  medication, he returned to the hospital for an additional two weeks before returning to the

  rehabilitation center for nearly three months. Hillel’s reaction to the medication also caused serious

  liver damage, requiring him to spend a week in the intensive care unit. He also underwent physical




                                                     9
Case 1:18-cv-02192-HG-PK              Document 25 Filed 07/05/18          Page 10 of 82 PageID #:
                                                119



therapy throughout this time.

        60.     Hillel no longer has vision in his left eye. He continues to have his eye examined

every three months to determine if the damage has spread to his right eye.

        61.     The effects of the attack have been very traumatic for Hillel, and he underwent

psychological counseling.

        62.     As a result of the attack, and the injuries Hillel Trattner sustained, Plaintiffs

Hadassah Diner, Efrat Fine, and Yael Hillman have experienced severe mental anguish and

extreme emotional pain and suffering.

The Friedman Family

        63.     Plaintiff Reuven Friedman is a citizen of the United States. He is the father of Chana

Friedman Edri.

        64.     Chana Friedman Edri, a United States citizen, and some of her friends went out for

pizza in the Yovelim shopping mall on Saturday night. While seated at the table, Chana saw a man

(al-Hafez) coming toward the table; he detonated his explosives, and there was a loud explosion.

        65.     Chana remembers running down the road. A bus driver saw her, and she told him

that the mall had been bombed. The bus driver took Chana to a local Magen David Adom (Red

Cross) station that drove her to an intensive care unit.

        66.     Chana sustained second degree burns and shrapnel wounds in her face, legs, chest

and right eye. Her eardrum had also ruptured as a result of the blasts. She had an operation to

remove shrapnel from her body that had resulted in a deep hole in her leg. She also had a hole in

her arm and hand. It was impossible to safely remove all of the shrapnel from her body.

        67.     Chana required outpatient treatments for six months and lost more than a year of

school as a result of her injuries.




                                                 10
Case 1:18-cv-02192-HG-PK           Document 25 Filed 07/05/18              Page 11 of 82 PageID #:
                                             120



          68.   In addition, three of Chana’s friends, including her best friend, were killed in the

attack.

          69.   She was scared to leave her house, and became very anxious, fearful, withdrawn,

and prone to anger.

          70.   Chana felt extremely self-conscious walking in public because of the burns that she

sustained on her face.

          71.   Chana underwent psychological counseling and continues to experience severe

psychological trauma.

          72.   As a result of the attack, and the injuries Chana Friedman Edri sustained, Plaintiff

Reuven Friedman has experienced severe mental anguish and extreme emotional pain and

suffering.

The Braun Family

          73.   Plaintiff Chaviva Braun is a citizen of the State of Israel. She is the wife of Steven

Braun.

          74.   Plaintiff Yehuda Braun is a citizen of the State of Israel. He is the son of Steven

Braun.

          75.   Plaintiff Yoni Braun is a citizen of the State of Israel. He is the son of Steven Braun.

          76.   Plaintiff Matanya Braun is a citizen of the State of Israel. He is the son of Steven

Braun.

          77.   Eliana Braun Peretz is a citizen of the State of Israel. She is the daughter of Steven

Braun.

          78.   Oriella Braun is a citizen of the State of Israel. She is the daughter of Steven Braun.

          79.   Steven Braun, a United States citizen, was standing outside a store window near




                                                  11
Case 1:18-cv-02192-HG-PK            Document 25 Filed 07/05/18              Page 12 of 82 PageID #:
                                              121



the pizzeria at the Yovelim shopping mall when the terrorist detonated his explosives. Steven had

gone to the shopping mall to buy medicine for his son.

        80.     Steven was thrown back as a result of the blast, and immediately felt extreme pain

in his legs. His pants had been torn, and both of his legs had been hit by flying shrapnel which

resulted in numerous cuts and bruises. In addition to blood, Steven saw pieces from a human body

on his right leg. At first, Steven believed his leg had been ruptured, but later realized that the pieces

of flesh belonged to the bomber or another victim of the attack.

        81.     After the initial shock, Steven attempted to assist other victims, including Hillel

and Ronit Trattner, and the paramedics that arrived on the scene. He personally witnessed the

carnage and saw the bodies of dead girls and many maimed and injured survivors.

        82.     Following the bombing, Steven was transported to Tel Hashomer hospital where

the doctors cleaned and bandaged the wounds to his legs.

        83.     As a result of the suicide bombing, Steven had trouble sleeping at night and had

nightmares. The suicide bombing also affected his relationship with his wife and children to the

extent that he became impatient and yelled at them.

        84.     He underwent psychological counseling and marital therapy.

        85.     As a result of the attack, and the injuries Steven Braun sustained, Plaintiffs Chaviva

Braun, Yehuda Braun, Yoni Braun, Matanya Braun, Eliana Braun Peretz, and Oriella Braun have

experienced severe mental anguish and extreme emotional pain and suffering

                   THE JERUSALEM BOMBING OF JANUARY 27, 2002

        86.     On January 27, 2002, Wafa Ali Khalil Idris, a female suicide bomber dispatched by

Fatah/Al Aqsa Martyrs Brigade (“AAMB”), detonated her explosive belt on Jaffa Street in

Jerusalem, killing one man and injuring approximately 150 others. Idris was the first female




                                                   12
Case 1:18-cv-02192-HG-PK          Document 25 Filed 07/05/18              Page 13 of 82 PageID #:
                                            122



suicide bomber of the Second Intifada.

       87.     Wafa Idris’ mother, Wasfiya Mabruk Saleh Idris, received a payment from the

Saudi Committee in the form of twenty thousand (20,000) rials converted into five thousand three

hundred and sixteen dollars and sixteen cents ($5,316.16). The amount was paid to her Arab Bank

account in Ramallah Al-Bireh Branch and designated with Receipt of Transfer No. 2195593712.

The Sokolow Family

       88.     Aaron Haar was a citizen of the United States. Aaron Haar passed away on May

28, 2015. He was the father of Rena Sokolow.

       89.     Plaintiff Adina Misher is a citizen of the United States, and a resident of the State

of New York and this District. She is the sister of Rena Sokolow.

       90.     Adina Misher brings this action both individually, and as the legal representative

of the Estate of Aaron Haar.

       91.     Plaintiff Rhoda Sokolow is a citizen of the United States, and a resident of the State

of New York and this District. She is the mother of Mark Sokolow, who represents her as her

attorney-in-fact.

       92.     Al Sokolow was a citizen of the United States. Al Sokolow passed away on January

8, 2018. He was the father of Mark Sokolow. Reha Sokolow, Al Sokolow’s widow, brings this

action on behalf of the Estate of Al Sokolow.

       93.     Plaintiff Noam Sokolow is a citizen of the United States and a resident of the State

of New Jersey. He is the brother of Mark Sokolow.

       94.     Plaintiff David Sokolow is a citizen of the United States and a resident of the State

of New York. He is the brother of Mark Sokolow.

       95.     Plaintiff Sylvia Haar is a citizen of the United States, and a resident of the State of




                                                 13
Case 1:18-cv-02192-HG-PK             Document 25 Filed 07/05/18            Page 14 of 82 PageID #:
                                               123



New York and this District. She is the mother of Rena Sokolow, who represents her as her attorney-

in-fact.

           96.    Plaintiff Avrum Haar is a citizen of the United States and a resident of the State of

New York. He is the brother of Rena Sokolow.

           97.    Mark Sokolow and Rena Sokolow, both United States citizens, were vacationing in

Israel where their oldest daughter was spending a year in school. On the last day of their trip,

January 27, 2002, the Sokolows and their two younger daughters walked to a shoe store near their

hotel. Upon exiting the store, they were knocked to the ground by a bomb blast.

           98.    After the blast, Mark Sokolow gathered himself and began looking for his wife and

children. Eventually, he walked to the nearby hospital where he was treated for shrapnel injuries

and released the following day.

           99.    As a result of the blast, Mark sustained damage to his eardrum and a loss of hearing.

He required follow up surgery for a burst eardrum and still experiences ringing in his ears.

           100.   After the blast, Rena Sokolow gathered herself mentally and began looking around

for her husband and children. She saw instead Idris’ severed head.

           101.   Rena could not move because of the severe injury to her leg and the agonizing pain.

She was hospitalized for ten days and required extensive surgery to be able to walk again. For the

first five months following the attack, Rena could not put any weight on the leg. If she needed to

get around she would generally use a walker, and hop. If she needed to do extensive walking she

would use a wheelchair. She required approximately six months to a year of physical therapy for

her leg.

           102.   Rena still cannot move her toes or ankle fully, has permanent nerve damage, and

experiences numbness in parts of her leg.




                                                   14
Case 1:18-cv-02192-HG-PK               Document 25 Filed 07/05/18                  Page 15 of 82 PageID #:
                                                 124



        103.     As a result of the attack, and the injuries Rena Sokolow sustained, Plaintiff Adina

Misher has experienced severe mental anguish and extreme emotional pain and suffering.

        104.     As a result of the attack, and the injuries Rena Sokolow sustained, and prior to his

death, Aaron Haar experienced severe mental anguish and extreme emotional pain and suffering.

        105.     As a result of the attack, and the injuries Mark Sokolow sustained, Plaintiff Rhoda

Sokolow has experienced severe mental anguish and extreme emotional pain and suffering.

        106.     As a result of the attack, and the injuries Mark Sokolow sustained, and prior to his

death, Al Sokolow experienced severe mental anguish and extreme emotional pain and suffering.

        107.     As a result of the attack, and the injuries Mark Sokolow sustained, Plaintiffs Noam

Sokolow and David Sokolow have experienced severe mental anguish and extreme emotional pain

and suffering.

        108.     As a result of the attack, and the injuries Rena Sokolow sustained, Plaintiff Sylvia

Haar has experienced severe mental anguish and extreme emotional pain and suffering.

        109.     As a result of the attack, and the injuries Rena Sokolow sustained, Plaintiff Avrum

Haar has experienced severe mental anguish and extreme emotional pain and suffering.

               THE MIKE’S PLACE BOMBING – TEL AVIV OF APRIL 30, 2003

        110.     On April 30, 2003, a HAMAS suicide bomber, Asif Muhammad Hanif, entered

Mike’s Place, a popular bar situated on the seashore a few hundred meters from the American

Embassy in Tel Aviv, and detonated his explosives, killing three people and injuring more than

50 others.

        111.     Hanif was a British citizen who entered Israel through Jordan.3




3
          There were actually two bombers, both British nationals sent by HAMAS, but the explosive belt on one of
the terrorists failed to detonate.


                                                       15
Case 1:18-cv-02192-HG-PK             Document 25 Filed 07/05/18             Page 16 of 82 PageID #:
                                               125



The Rozenstein Family

       112.       Plaintiff Alexander Rozenstein is a citizen of the United States and a resident of the

State of Florida. He is the father of Daniel Rozenstein.

       113.       Plaintiff Esther Rozenstein is a citizen of the United States and a resident of the

State of Florida. She is the mother of Daniel Rozenstein.

       114.       Daniel Rozenstein, a United States citizen, was seated inside the bar and had

decided to step outside when he crossed paths with Hanif in the entryway just as Hanif detonated

his explosives.

       115.       As a result of the attack, Daniel suffered second degree burns over his entire body.

       116.       After three days in the hospital, Daniel slipped into a coma that lasted eight days.

He was placed on a respirator and other life supports for two weeks. He remained in the hospital

for one and a half months, followed by eight months of treatment as an outpatient.

       117.       As a result of the bombing, he sustained severe hearing loss. He has also suffered a

permanent loss of balance, is often dizzy, and frequently experiences black outs.

       118.       Daniel’s right hand no longer functions properly as it is covered in scar tissue. Much

of the rest of his body is also covered by scar tissue, including his back.

       119.       He also suffers from memory loss, nightmares and Post-Traumatic Stress Disorder

(“PTSD”), and he underwent psychological counseling.

       120.       As a result of the attack, and the injuries Daniel Rozenstein sustained, Plaintiff

Alexander Rozenstein has experienced severe mental anguish and extreme emotional pain and

suffering.




                                                   16
Case 1:18-cv-02192-HG-PK          Document 25 Filed 07/05/18             Page 17 of 82 PageID #:
                                            126



       121.    As a result of the attack, and the injuries Daniel Rozenstein sustained, Plaintiff

Esther Rozenstein has experienced severe mental anguish and extreme emotional pain and

suffering.

                   THE SHEFFIELD CLUB BOMBING OF MAY 7, 2002

       122.    On the night of May 7, 2002, a HAMAS suicide bomber, Muhammad Muammar,

entered the third floor of a building in Rishon Letzion’s new industrial area that housed the

Sheffield Club (social club) and detonated a bomb.

       123.    Fifteen people were killed in the attack including Esther Bablar, a United States

citizen, and more than 50 others were injured.

       124.    Although Esther had initially survived the attack, she died of her injuries the

following morning.

The Bablar Family

       125.    Plaintiff Eli Cohen is a citizen of the United States, and a resident of the State of

New York and this District. He is the son of Esther Bablar, and he is represented in this matter by

his sister and legal guardian, Jacqueline Chambers.

       126.    Plaintiff Sarah Elyakim is a citizen of the United States, and a resident of the State

of New York and this District. She is the sister of Esther Bablar.

       127.    Plaintiff Joseph Cohen is a citizen of the United States and a resident of the State

of Florida. He is the brother of Esther Bablar.

       128.    On the day of the attack, a member of the Bablar family in Israel contacted Esther’s

sister, Sarah Elyakim, in New York and told her the tragic news. Eventually Esther’s daughters

were notified, and they quickly arranged to fly to Israel with their aunt and uncle.




                                                  17
Case 1:18-cv-02192-HG-PK          Document 25 Filed 07/05/18            Page 18 of 82 PageID #:
                                            127



       129.    As a result of the attack, and the death of Esther Bablar, Plaintiff Eli Cohen has

experienced severe mental anguish, extreme emotional pain and suffering, and the loss of his

mother’s society, companionship, comfort, protection, attention, advice and counsel.

       130.    As a result of the attack, and the death of Esther Bablar, Plaintiff Sarah Elyakim

has experienced severe mental anguish, extreme emotional pain and suffering, and the loss of her

sister’s society, companionship, comfort, protection, attention, advice and counsel.

       131.    As a result of the attack, and the death of Esther Bablar, Plaintiff Joseph Cohen has

experienced severe mental anguish, extreme emotional pain and suffering, and the loss of his

sister’s society, companionship, comfort, protection, attention, advice and counsel.

              THE KING GEORGE STREET BOMBING OF MARCH 21, 2002

       132.    On March 21, 2002, a suicide bomber got out of a car on King George Street in

Jerusalem and detonated explosives. The attack killed at least two people and injured more than

80 others, including a woman pregnant with twins, and her husband.

       133.    The AAMB claimed responsibility for the attack and identified the bomber as

Muhammad Hashaika, 22, of Taluza, north of Nablus. The bomber was an ex-Palestinian Authority

policeman.

The Bauer Family

       134.    Plaintiff Ludwig Bauer is a citizen of the United States and a resident of the State

of Nevada. He is the father of Alan Bauer.

       135.    Ella Bauer was a citizen of the United States. Ella Bauer passed away on February

26, 2017. She was the mother of Alan Bauer.

       136.    Ludwig Bauer brings this action both individually, and as the legal representative

of the Estate of Ella Bauer.




                                                18
Case 1:18-cv-02192-HG-PK             Document 25 Filed 07/05/18          Page 19 of 82 PageID #:
                                               128



         137.   Plaintiff Phillip Bauer is a citizen of the United States. He is the brother of Alan

Bauer.

         138.   On March 21, 2002, Alan Bauer, a United States citizen, and his son, Yehonaton

Bauer, were walking home when Hashaika detonated his explosives near them.

         139.   Alan was thrown to the ground and saw smoke everywhere.

         140.   He finally located his son, who was on the ground, unconscious. Yehonaton had

been struck by part of a screw packed with the explosives. The screw passed through his brain

from the back to the front of his head.

         141.   Alan was struck by two nails that severed two arteries in his left arm. One passed

through and the other was lodged in his arm.

         142.   Both Alan and Yehonaton were operated on. Alan has had two skin grafts to cover

the scarring in that injured area.

         143.   Yehonaton was hospitalized for three and a half weeks; he was then moved to

another hospital where he was hospitalized for an additional three and a half months.

         144.   For three weeks after the attack, Yehonaton was blind in both eyes and paralyzed

on his left side.

         145.   His legs are no longer the same size, causing them to atrophy and him to limp.

         146.   As a result of the attack, and the injuries Alan Bauer sustained, Plaintiffs Ludwig

Bauer and Phillip Bauer have experienced severe mental anguish and extreme emotional pain and

suffering.

         147.   As a result of the attack, and the injuries Alan Bauer sustained, and prior to her

death, Ella Bauer experienced severe mental anguish and extreme emotional pain and suffering.




                                                 19
Case 1:18-cv-02192-HG-PK           Document 25 Filed 07/05/18             Page 20 of 82 PageID #:
                                             129



               THE JERUSALEM BUS SHOOTING OF NOVEMBER 4, 2001

        148.    During rush hour on November 4, 2001, a PIJ terrorist named Hatem Yaqin Ayesh

Al-Shweikeh approached Egged Bus #25, which was carrying mostly schoolchildren in the French

Hill neighborhood of Jerusalem.

        149.    Al-Shweikeh emptied an entire rifle magazine into the bus before being shot and

killed by police officers and a civilian in the area.

        150.    By the time the attack was over, two schoolchildren aboard the bus had been killed

and more than 40 others, mostly children, had been injured.

        151.    Al-Shweikeh’s family received a Saudi Committee martyr payment through Arab

Bank.

        152.    Muhammad Ayub Muhammad Sidr, the PIJ operative who planned the attack,

received a prisoner payment from the Saudi Committee through Arab Bank a few months prior to

the attack.

        153.    Dhiyab Abd al-Rahim Abd al-Rahman al-Shweiki, who dispatched the shooter, also

received a prisoner payment from the Saudi Committee through Arab Bank a few months prior to

the attack.

The Miller Family

        154.    Plaintiff Myriam Miller is a citizen of the United States and a resident of the State

of Israel.

        155.    Plaintiff Chana Aidel Miller Schertzman is a citizen of the United States and a

resident of the State of Israel. She is Myriam Miller’s daughter.

        156.    Plaintiff Tova Miller is a citizen of the United States and a resident of the State of

Israel. She is Myriam Miller’s daughter.




                                                  20
Case 1:18-cv-02192-HG-PK            Document 25 Filed 07/05/18              Page 21 of 82 PageID #:
                                              130



          157.   Myriam was sitting with Chana Aidel, then age 5, in her lap and Tova, then age 2,

in the seat next to her; two Israeli soldiers sat in the seats facing the Millers.

          158.   Al-Shweikeh approached the side of the bus the Millers were sitting on and opened

fire. Myriam witnessed the terrorist take aim at her and her daughters multiple times but miss.

          159.   Instead, bullets struck both soldiers sitting opposite the Millers. As they fell, they

pinned Myriam and Chana Aidel to the floor, such that Myriam was unable to reach her toddler,

Tova.

          160.   Myriam watched helplessly while Tova lay screaming on her seat, covered in

broken glass.

          161.   Eventually, someone on the bus was able to hide Tova under a seat.

          162.   Myriam and Chana Aidel were covered in the blood of the injured soldiers.

          163.   Myriam also suffered from cuts from broken glass, and Chana Aidel was badly

bruised. All three Millers were examined at the Mt. Scopus Hospital of the Hadassah Medical

Center.

          164.   Each of the Millers also witnessed the murder of Shoshana Ben-Yishai, a U.S.

citizen killed in the attack, and other bus passengers being killed and injured.

          165.   Myriam witnessed the terrorist’s attempt to murder her and her daughters, and

Chana Aidel and Tova each witnessed the terrorist’s attempt to murder herself, her sister, and her

mother.

          166.   Myriam began seeing a psychologist a few months after the attack (and continues

to do so). The psychologist diagnosed her with PTSD and concluded that she exhibits the following

PTSD symptoms: migraine headaches, panic attacks, generalized anxiety, nightmares, sleep

disturbances, and acute reactions to loud noises or any reminders of the attack.




                                                   21
Case 1:18-cv-02192-HG-PK          Document 25 Filed 07/05/18             Page 22 of 82 PageID #:
                                            131



       167.    Myriam frequently re-experiences the attack in her mind and is often preoccupied

by her inability to reach Tova during the attack.

       168.    Myriam has been unable to work outside the home or use public transportation.

       169.    Myriam’s relationship with her husband, father to Chana Aidel and Tova, was

strained due to her and her daughters’ symptoms, and ultimately the marriage ended in divorce.

       170.    As a result of the attack, Plaintiff Myriam Miller has experienced physical injuries,

severe mental anguish and extreme emotional pain and suffering.

       171.    Chana Aidel, only five years old at the time of the attack, has suffered from

nightmares, flashbacks, anxiety, and depression as a result of her experiences in the attack.

       172.    As a result of the attack, Plaintiff Chana Aidel Miller Schertzman has experienced

physical injuries, severe mental anguish and extreme emotional pain and suffering.

       173.    Tova, only two years old at the time of the attack, stopped speaking to nearly

everyone, including her father, for years following the attack.

       174.    As a result of the attack, Plaintiff Tova Miller has experienced severe mental

anguish and extreme emotional pain and suffering.

               THE JAFFA ROAD BUS #14A BOMBING OF JUNE 11, 2003

       175.    At approximately 5:30 p.m. on June 11, 2003, a HAMAS suicide bomber dressed

as an ultra-Orthodox Jew, Abd el-Mu’ati Shabana, boarded Egged Bus 14A at the Mahane Yehuda

market. A short while later, as the bus drove down Jaffa Road near the Davidka Square, Shabana

detonated his bomb, destroying the bus and killing 17 people and injuring over 100 people,

including dozens of bystanders.

       176.    Shabana was initially recruited by HAMAS while playing at a local jihad mosque

soccer team.




                                                22
Case 1:18-cv-02192-HG-PK             Document 25 Filed 07/05/18            Page 23 of 82 PageID #:
                                               132



The Singer Family

        177.      Plaintiff Robert Singer is a citizen of the United States and a resident of the State

of New Jersey. He is the father of Sarri Anne Singer.

        178.      On June 11, 2003, Sarri Anne Singer, a United States citizen, boarded Bus 14A in

Jerusalem to meet a friend for dinner. It was approximately 4:45 p.m., and the bus was filled with

rush hour commuters. Eventually she was able to take a seat near the window.

        179.      Shortly thereafter, Shabana detonated his bomb only two to three seats away from

where Sarri was seated, killing everyone sitting and standing near her and causing the roof of the

bus to fall in.

        180.      When the explosives were detonated, Sarri felt a shockwave across her face.

        181.      Sarri was struck with shrapnel from the explosion that entered her shoulder and

broke her clavicle.

        182.      After the blast, she was unable to open her left eye, and her right eye was extremely

restricted.

        183.      Sarri was unable to hear because of a loud ringing in her ears, and her eardrums

ruptured.

        184.      Barely walking, Sarri was taken to an ambulance.

        185.      She incurred wounds to her face and legs resulting in scarring. She underwent

physical therapy and additional surgery.

        186.      Shrapnel lodged in Sarri’s gums, moving her teeth and necessitating dental work.

        187.      As a result of the attack, and the injuries Sarri Anne Singer sustained, Plaintiff

Robert Singer has experienced severe mental anguish and extreme emotional pain and suffering.




                                                   23
Case 1:18-cv-02192-HG-PK          Document 25 Filed 07/05/18               Page 24 of 82 PageID #:
                                            133



                     THE ARIEL SHOOTING OF OCTOBER 27, 2002

        188.   On October 27, 2002, a HAMAS suicide bomber, Muhammad Kazid Faysal al-

Bustami, detonated his explosives at a gas station outside of the West Bank town of Ariel, killing

three Israeli soldiers and injuring 15 others, including Yitzhak Zahavy.

        189.   On the morning of October 27th, Firas Faydi, a HAMAS operative from Nablus,

received an explosive belt from fellow HAMAS operative Muhammad al-Hanbali and met al-

Bustami at the eastern cemetery of Nablus.

        190.   At the cemetery, Faydi showed al-Bustami how to detonate the explosive belt and

dressed him in the device.

        191.   Thereafter, a third HAMAS operative, Khaled Dib Hasen Abu Hamed, drove al-

Bustami to Ariel and dropped him off there.

        192.   Al-Bustami walked to the “Eshel Ha-Shomron” gas station at the entrance to Ariel

and perpetrated the attack.

The Zahavy Family

        193.   Plaintiff Yitzhak Zahavy is a citizen of the United States and a resident of the State

of Israel.

        194.   Plaintiff Julie Zahavy is a citizen of the United States and a resident of the State of

Israel. She is the wife of Yitzhak Zahavy.

        195.   Plaintiff Tzvee Zahavy is a citizen of the United States and a resident of the State

of Israel. He is the father of Yitzhak Zahavy.

        196.   Plaintiff Bernice Zahavy is a citizen of the United States and a resident of the State

of Israel. She is the mother of Yitzhak Zahavy.

        197.   On October 27, 2002, Yitzhak Zahavy was waiting with his platoon for a transport




                                                  24
Case 1:18-cv-02192-HG-PK           Document 25 Filed 07/05/18            Page 25 of 82 PageID #:
                                             134



pickup at a gas station at the entrance to the town of Ariel.

       198.    Al-Bustami emerged and stood approximately 50 meters from Yitzhak.

       199.    Three of Yitzhak’s fellow soldiers were killed as they (and Yitzhak) unsuccessfully

attempted to stop al-Buatami before he detonated his explosives.

       200.    Yitzhak suffered shrapnel injuries to his leg and was taken to Meir Hospital.

       201.    The emotional effects of the attack continue to affect Yitzhak to the present day.

       202.    As a result of the attack, Plaintiff Yitzhak Zahavy has experienced physical injuries,

severe mental anguish and extreme emotional pain and suffering.

       203.    As a result of the attack, and the injuries Yitzhak Zahavy sustained, Plaintiffs Julie

Zahavy, Tzvee Zahavy and Bernice Zahavy have experienced severe mental anguish and extreme

emotional pain and suffering.

B.     The Defendant

       204.    Defendant Arab Bank is a Jordanian bank headquartered in Amman, Jordan, the

common stock of which is publicly traded on the Amman Stock Exchange. Arab Bank owns,

controls and/or operates bank branches worldwide, including several branches that are situated in

Palestinian Authority (“PA”) controlled territories and, until 2005, a wholly-owned branch office

located at 520 Madison Avenue, New York, New York, that was regulated by the Office of the

Comptroller of the Currency (“OCC”) of the United States Treasury Department.

       205.    Arab Bank conducts business in the State of New York.

       206.    Arab Bank operated its federally chartered branch in New York beginning in 1983.

       207.    The New York branch was designated as a wholesale bank, and among the banking

and financial services that it conducted in New York was providing clearing and correspondent

bank services to its foreign bank branch offices and affiliated banking institutions that are also




                                                 25
Case 1:18-cv-02192-HG-PK          Document 25 Filed 07/05/18              Page 26 of 82 PageID #:
                                            135



owned and/or controlled by the Arab Bank Group as well as other foreign banks.

       208.   In July 2004, American citizens sued Arab Bank in this Court alleging that Arab

Bank provided material support to HAMAS and other terrorist groups.

       209.   That civil lawsuit prompted the OCC and the Financial Crimes Enforcement

Network (“FinCEN”) to launch investigations into the conduct of Arab Bank’s New York branch.

       210.   In 2005, Arab Bank’s New York branch was converted to a federal agency

following investigations by the OCC and FinCEN.

       211.   As part of its investigation of Arab Bank’s New York branch, FinCEN found that:

       [D]uring the period from 2000 through 2004, management of an Arab Bank affiliate
       in the Palestinian Territories received, from regulatory authorities in the Palestinian
       Territories, orders that focused explicitly on funds transfers to a number of
       beneficiaries with accounts at members of the Arab Bank Group in the Palestinian
       Territories. In addition, regulatory authorities in the Palestinian Territories issued
       circulars containing the names of suspected criminals and ordered institutions
       holding accounts of the suspected criminals to either freeze the accounts or place
       the accounts on a watch list. Despite the heightened risk of illicit activity, Arab
       Bank - New York failed to implement procedures for obtaining this type of
       information from other members of the Arab Bank Group, to mitigate the risk and
       ensure compliance with the Bank Secrecy Act.

       212.   FinCEN further found that:

       [D]uring the period from 2001 through 2004, Arab Bank - New York cleared funds
       transfers for originators or beneficiaries that the Office of Foreign Assets Control
       or the Department of State later designated as “specially designated terrorists,”
       “specially designated global terrorists,” or “foreign terrorist organizations.” At the
       time of the funds transfers, neither the Office of Foreign Assets Control nor the
       Department of State had designated the originators or beneficiaries. Arab Bank -
       New York largely complied with the requirement to cease clearing funds transfers
       once the Office of Foreign Assets Control designated an entity as a “specially
       designated terrorist,” “specially designated global terrorist,” or “foreign terrorist
       organization.”

       However, designations of individuals and entities as terrorists by the United States
       Government provide critical information for financial institutions to use in
       assessing terrorist financing risk. Once a designation occurred, Arab Bank - New
       York failed to review recent activity, occurring prior to the designation and
       associated with the designated entities, to identify potentially suspicious activity.



                                                 26
Case 1:18-cv-02192-HG-PK         Document 25 Filed 07/05/18            Page 27 of 82 PageID #:
                                           136



       Had such a review been conducted, it would have uncovered originators and
       beneficiaries - with possible ties to the designated entities - that had recently
       engaged in potentially suspicious activity. Arab Bank - New York failed to review
       information in its possession that would have shown it was clearing funds transfers
       for individuals and entities dealing with subsequently designated terrorists and
       terrorist organizations, failed to analyze this information, and failed to file
       suspicious activity reports.

       213.    Arab Bank and Arab Bank Group were majority owned and/or controlled by

members of the Shoman family, including Abdul Majeed A.H. Shoman, who, until his death in

2005, was the Chairman of Arab Bank and Arab Bank Group.

       214.    Abdel Hamid A.M. Shoman succeeded his father as Chairman and Chief Executive

Officer of Arab Bank and Arab Bank Group upon the latter’s death and remained in that position

until his resignation in 2012.

       215.    Mr. Shoman was succeeded by the current Chairman of Arab Bank, Sabih al-Masri,

who was previously Deputy Chairman of Arab Bank.

       216.    In 2017, Mr. al-Masri led a group of Jordanian and Arab investors in buying the

approximately 20% stake of Arab Bank held by Oger Middle East Holding Company, which is

owned by the Lebanese Hariri family.

                                 FACTUAL ALLEGATIONS

A.     The Al Aqsa Intifada or Intifada Al Quds (“Second Intifada”)

       217.    Following the collapse of peace negotiations at the presidential retreat at Camp

David in the summer of 2000, Palestinian terrorist organizations launched a broad-based terror

campaign against the State of Israel at the end of September 2000 that continued through December

2004 which was widely referred to as the Al Aqsa Intifada or Intifada Al Quds, and herein as the

“Second Intifada.”

       218.    During this period, various Palestinian terrorists attempted approximately 23,000




                                               27
Case 1:18-cv-02192-HG-PK           Document 25 Filed 07/05/18             Page 28 of 82 PageID #:
                                             137



attacks, which claimed more than 8,000 casualties, including over 1,000 civilian deaths.

       219.    These acts of violence resulted in the deaths of at least 30 U.S. citizens and caused

serious bodily injury to scores of others.

       220.    The preferred method of mass murder used by Palestinian terrorist groups was

suicide bombing, which involved an individual carrying an explosive device which he or she

detonated in a bus, restaurant or other crowded public gathering place.

       221.    The device was typically packed with nails, bolts and ball bearings, which, when

detonated, lodged themselves deep within the bodies of those unfortunate individuals who

happened to be inside the blast radius, causing death or cruel and horrific injuries.

       222.    The objectives of the Second Intifada terror campaign included intimidating and

coercing the civilian population of Israel and attempting to influence the policy of the Israeli

Government by compelling Israel to withdraw from territory it presently controls.

B.     Arab Bank’s Longstanding Commitment to Supporting Palestinian Terrorism

       1.      The Shoman Family

       223.    In 1984, the Shoman family published a biography of Mr. Abdulhameed Shoman

(the Bank’s founder) entitled The Indomitable Arab, in which he consistently set forth his antipathy

toward Jews, Zionists and the State of Israel.

       224.    He also clearly described his abhorrence for the United States, which he claimed to

have once admired until it supported Israel.

       225.    Prior to the establishment of Arab Bank, Mr. Shoman had described his great anger

toward Zionists, Jews, and others whom he believed stood in the way of the growth of the Arab

economy.

       226.    In his biography he is quoted as saying that “…within a few years Zionism will




                                                 28
Case 1:18-cv-02192-HG-PK                 Document 25 Filed 07/05/18                     Page 29 of 82 PageID #:
                                                   138



have grown strong enough to control the entire economy. I believe that all business dealings with

the Jews – buying, selling or banking transactions – are damaging to our country’s best interests.”

         227.     Mr. Shoman’s hostility toward Jews, Zionists and the State of Israel is also reflected

in Arab Bank’s Annual Reports. For example, in Arab Bank’s 1968 Annual Report, Mr. Shoman

wrote in his letter to shareholders:

         Nothing would have pleased me more than to be able to refer to the liberation of
         the enemy-occupied territories of our Arab homeland. But unfortunately, the
         Zionists still occupy the whole of our beloved Palestine as well as Sinai and the
         Golan Heights; and our Moslem and Christian holy places continue to suffer from
         enemy occupation. Moreover, the expansionist policy of the Zionists has been
         unmasked and the Arabs now know that the Zionist danger threatens not only the
         occupied territories but the entire Arab world. The only course open to the Arabs,
         therefore, is to concert their efforts throughout the area extending from the Atlantic
         Ocean in the west to the Arabian Gulf in the east, and to sacrifice the lives and offer
         the money needed for their self-defence and for the liberation of their sacred places
         and all their occupied territories.

         228.     In his final speech before 400 Arab Bank employees, Mr. Shoman also explained

his hatred for Americans that had developed over the years:

         I liked the Americans. I once bore their nationality, and gathered my fortune in their
         country. But since they started to help the Zionists and supply them with arms to
         fight us, I have come to detest them. It was not the Jews, but the Americans, who
         fought us.

         229.     Mr. Shoman’s son, Abdul Majeed Shoman, succeeded him as the Chairman of Arab

Bank.

         230.     Abdul Majeed Shoman served as the chairman of the Popular Committee in Support

of the Palestinian Intifada, which was established during the First Intifada,4 in 1987-1988. The

Popular Committee raised approximately eight million Jordanian Dinar (JOD 8,000,000) or

approximately $11,000,000 for “martyrs’ families,” paying 1,000 JOD ($1,400) to each martyr’s



4
           The First Intifada refers to the violent conflict that broke out in December 1987 between the Palestinians and
Israel. It is generally considered to have ended with the signing of the Oslo Accords in 1993.


                                                          29
Case 1:18-cv-02192-HG-PK           Document 25 Filed 07/05/18            Page 30 of 82 PageID #:
                                             139



family and 300 JOD ($425) to each Palestinian injured in the violence.

        231.   From 1995 to 2000, the Popular Committee raised an additional 1,200,000 JOD for

the martyrs’ families of the First Intifada.

        232.   Arab Bank’s own support and commitment to the violent goals of the various

terrorist organizations during the Second Intifada were embodied by the personal commitment of

its Chairman during the Second Intifada, Abdul Majeed Shoman, who vocally supported the

Second Intifada.

        233.   At an October 2000 meeting, the Popular Committee’s chairman, Abdul Majeed

Shoman, and its other members discussed the need for a new mechanism to distribute the new

donations which had not yet been transferred to the martyrs’ families and the injured of the Second

Intifada.

        234.   They decided to bestow financial support to the martyrs’ families on the same terms

as before and to call upon the Jordanian government to make the donations tax-exempt. Abdul

Majeed Shoman, Chairman of Arab Bank at the time, opened the meeting saying:

        After the blessed Intifada [erupted] I thought that we should discuss what to do
        about it. There are some organizations which are fundraising donations including
        the Welfare Association [headed by Mr. Shoman]. The Welfare Association
        received donations and it has funds. I received phone calls and donations from
        benevolent people and the Arab Bank’s board and bank’s employees decided to
        donate 5% from October’s salaries [for the Intifada]. In spite of the fact that
        donations were collected and are available nothing was transferred to anybody. It
        is our duty to act and therefore I summoned this meeting to hear from you.

        235.   As referenced by Mr. Shoman in his speech, on or about October 7, 2000, Arab

Bank announced that it would bestow financial donations to Palestinians injured during the Second

Intifada. Its employees donated 5% of their monthly salary (for the month) to the Palestinian cause.

        236.   On November 22, 2000, Arab businessmen held a meeting with Yasser Arafat, then

chairman of the PLO, at which time a new entity was formed, the Fund for Support of the



                                                30
Case 1:18-cv-02192-HG-PK          Document 25 Filed 07/05/18            Page 31 of 82 PageID #:
                                            140



Persistence of the Palestinian People, to further bankroll the Palestinian Authority and the Second

Intifada.

        237.   Defendant Arab Bank pledged $2,000,000.

        238.   Mr. Shoman personally pledged $500,000.

        239.   The Shoman family’s altruism toward the Second Intifada continued in June 2001,

when the Cultural Center of the Abdul Hameed Shoman Institute launched an exhibition on the

subject of “the martyrs of the Palestinian Intifada.”

        240.   The stated purpose of the exhibit was to “honor the martyrs of the blessed al-Aqsa

intifada” by means of conveying the human and spirited image of their lives.

        241.   The exhibit featured presentations of the martyrs’ personal belongings that had been

collected, such as clothing and “tools” they used, along with an introduction to their lives and

deeds until the day of their ‘martyrdom.’

        242.   Mr. Shoman’s support for the Second Intifada was also manifested in his letters to

shareholders contained within Arab Bank’s Annual Reports.

        243.   For example, in his 2003 letter to shareholders, Mr. Shoman wrote, “Throughout

2003 our branches in the Arab countries were affected by many negative pressure factors, first and

foremost the enduring difficult situation which our brothers in Palestine suffer from and by the

occupying enemy’s enduring obstinacy and oppression …”

        244.   Accordingly, Arab Bank’s financial and ideological support for the Second Intifada

was a matter of public record.

        245.   In fact, recently, senior HAMAS leader Moussa Abu Marzook issued a statement

complaining that in the aftermath of the Linde trial, Arab Bank was now insufficiently cooperative.

        246.   Marzook took to Twitter on June 19, 2018 to complain that the “current policies of




                                                 31
Case 1:18-cv-02192-HG-PK           Document 25 Filed 07/05/18          Page 32 of 82 PageID #:
                                             141



Arab Bank” is not to deal with “national” matters in the Gaza Strip such as payments to “martyrs,

wounded, widows or orphans … under the pretext of protecting itself from litigation. This, after

the bank was one of the national institutions. What kind of image does the bank want to portray

about itself?” (Emphasis added.)

       2.      The Saudi Committee in Support of the Intifada Al Quds

       247.    On or about October 16, 2000, the Saudi Committee was established as a private

charity registered with the Kingdom of Saudi Arabia.

       248.    The Saudi Committee stated that its purpose was to support the “Intifada Al Quds”

and “all suffering families – the families of the martyrs and the injured Palestinians and the

disabled.”

       249.    The Saudi Committee was also a member of the Union of Good, HAMAS’ global

fundraising network, and was listed as a member on the Union of Good’s website.

       250.    The Saudi Committee issued a press release regarding the visit to Saudi Arabia by

the head of the Union of Good, Dr. Yousef al-Qaradawi, at the invitation of Prince Nayef Bin Abd

al-Aziz Al Sa’ud.

       251.    According to the press release, “His Royal Highness approved 28 employment

projects that the Union proposed to the Saudi Committee for the Support of the al-Quds Intifada.

An initial sum of 1.3 million dollars was allocated as a first allotment and shall be followed by

additional allotments and projects that the Union will propose to the Committee in the future.”

       252.    The Saudi Committee also established a website to promote its activities.

       253.    The website was later revamped, and the Saudi Committee’s name sanitized on the

English language version of the website.

       254.    However, even the sanitized English version of the website stated that the Saudi




                                               32
Case 1:18-cv-02192-HG-PK          Document 25 Filed 07/05/18             Page 33 of 82 PageID #:
                                            142



Committee’s activities include: “support of the families of martyrs and wounded, as well as the

handicapped, orphans and prisoners, as well as homeowners whose houses were destroyed and

landowners whose land was bulldozed, as well as support of a number of Palestinian social

institutions and sponsorship of needy families …”

       255.    In practice, the Saudi Committee constituted a professional fundraising apparatus

intended to subsidize the Second Intifada, i.e., to subsidize the Palestinian terror campaign and to

bankroll HAMAS and its related front organizations in the Palestinian Territories.

       256.    In fact, the Saudi Committee’s website listed two well-known HAMAS front

organizations, Al Salah Islamic Society in the Gaza Strip and the Islamic Charitable Society of

Hebron in the West Bank, as coordinating the efforts of the Saudi Committee.

       257.    The Saudi Committee helped bankroll HAMAS-controlled front organizations in

the Palestinian Territories by providing these organizations with more than $15,000,000.

       258.    The biggest recipients of Saudi Committee funds were the two organizations that

coordinated the Saudi Committee’s efforts in the Palestinian Territories: the Al Salah Islamic

Society, which received over $9,700,000, and the Islamic Charitable Society of Hebron, which

received just over $4,800,000.

       259.    Smaller amounts were received by other well-known HAMAS organizations in the

West Bank and Gaza Strip such as Al Mujama Al Islami (The Islamic Center – Gaza), Al Jam’iya

Al-Islamiya (The Islamic Society – Gaza) and Al-Tadamun Charitable Society (in Nablus).

       260.    Hence, Arab Bank played a key role in the Saudi Committee’s efforts to help

bankroll HAMAS and its da’wa organizations.

       261.    The Saudi Committee’s other goal was accomplished by providing a

comprehensive insurance benefit or “martyr” payment of approximately $5,316 to the families of




                                                33
Case 1:18-cv-02192-HG-PK         Document 25 Filed 07/05/18           Page 34 of 82 PageID #:
                                           143



Palestinian terrorists such as HAMAS suicide bombers Nabil Halabiya and Osama Bahar, who

carried out the deadly double suicide bombing at the Ben Yehuda pedestrian mall in Jerusalem on

December 1, 2001 in which U.S. citizens Netanel Miller, Altea Steinherz and Jonathan Steinherz

were injured.

        262.    Terrorists who were injured by Israeli security forces received a payment of

approximately $1,325.

        263.    Terrorists who were captured as a result of their criminal conduct received a

payment of approximately $2,655.

        264.    The Saudi Committee provided approximately $8 million – all of which flowed

through Arab Bank branches – as benefits to the families of the so-called “martyrs,” which

included the families of suicide bombers and individuals killed by Israeli forces during the

commission or attempted commission of terrorist acts.

        265.    The Saudi Committee also provided “prisoner payments” to individual terrorists

and families of individuals held in Israeli custody. This type of support was critical to HAMAS’

efforts to win the hearts and minds of the Palestinian people and to create an infrastructure

solidifying HAMAS’ position within Palestinian society.

        266.    More than 90% of these Saudi Committee payments to individuals were made in

cash.

        267.    Moreover, the insurance benefit not only provided universal terrorist death and

dismemberment insurance coverage for specific members of preferred terrorist organizations such

as HAMAS, as seen above with respect to the payment to the family of Nabil Halabiya, but was

also intended as universal terrorist death and dismemberment insurance coverage available to

terrorists belonging to any terrorist organization or to none at all, thereby incentivizing and




                                               34
Case 1:18-cv-02192-HG-PK           Document 25 Filed 07/05/18             Page 35 of 82 PageID #:
                                             144



rewarding all terrorists in Israel during the Second Intifada and eliminating the potential

distinctions between terrorist groups, between individual (freelance) terrorists and the more

established terrorist cells, and between the secular and radical Islamist terrorist organizations.

       268.      For example, Wafa Idris was a suicide bomber dispatched by the AAMB.

       269.      Wafa Idris’ mother, Wasfiya Mabruk Saleh Idris, received a martyr payment from

the Saudi Committee through Arab Bank as a result of Wafa Idris’s death during the January 27,

2002 Jerusalem Bombing in which the Sokolow family members were injured.

       270.      Ahed Mahmud Abdalla Abd el-Hafez was the father of Sadiq al-Hafez, the Popular

Front for the Liberation of Palestine (“PFLP”) operative who carried out the Karnei Shomron

Pizzeria Bombing in which Hillel Trattner was injured.

       271.      In June 2002, Ahed Mahmud Abdalla Abd al-Hafez received a martyr payment

from the Saudi Committee through Arab Bank because of Sadiq al-Hafez’s role as a suicide

bomber.

       272.      Defendant Arab Bank administered the comprehensive terrorist death and

dismemberment insurance scheme by receiving, transmitting and distributing the benefits in

accordance with lists of families of “martyrs” and others eligible for “coverage.”

       273.      Arab Bank was provided relatively detailed lists consisting of the names of the

“martyrs,” personal information and details concerning the date and manner of death and other

information provided to it by the Saudi Committee and representatives of the leading HAMAS

organizations.

       274.      For example, Arab Bank received a list from the Saudi Committee in January 2002

that contained over 650 names. See attached Exhibit 2.

       275.      The list was titled: “List of Names of Martyrs to Substitute the Existing Transfers




                                                 35
Case 1:18-cv-02192-HG-PK          Document 25 Filed 07/05/18            Page 36 of 82 PageID #:
                                            145



at the Bank Substituting the Name of One Beneficiary with Another.”

       276.    The instructions Arab Bank received were to substitute the pending transfers per

the attached list of new beneficiaries. Number 610 on the list was Hatem Al-Shweikeh, who carried

out the shooting attack on November 4, 2001 discussed above.

       277.    This list that Arab Bank received included information about the name of the

“martyr,” the date of death, the cause of death and the name of the beneficiary.

       278.    In the case of Al-Shweikeh, it lists his date of death as November 4, 2001 and the

cause of death as “French Hill Operation.” As noted above, the attack that Al-Shweikeh perpetrated

on November 4, 2001 occurred in the French Hill section of Jerusalem.

       279.    This list also contained the name of HAMAS’ Third Engineer, Ayman Halawah.

“Engineer” is the term HAMAS uses to describe its bomb-makers.

       280.    According to the list, Ayman Halawah was killed on October 22, 2001 in a car

bombing.

       281.    In another list provided to Arab Bank, which was titled “List of Martyrs’ Names in

the West Bank Sixth Installment,” the sixteenth name on the list is Hamed Abu Hijla and lists the

cause of death as “Martyr Operation.” See attached as Exhibit 3.

       282.    Hamed Abu Hijla was a HAMAS operative.

       283.    Accordingly, the terrorist death and dismemberment insurance plan included the

families of suicide bombers, and Defendant Arab Bank and its senior management knew this fact,

including Defendant’s former Regional Manager for the Palestinian Territories Mazen Abu

Hamdan.

       284.    Arab Bank coordinated with the Saudi Committee and local representatives of

HAMAS to finalize the lists, maintain a database of persons eligible under this universal terrorist




                                                36
Case 1:18-cv-02192-HG-PK           Document 25 Filed 07/05/18            Page 37 of 82 PageID #:
                                             146



death and dismemberment insurance plan, and received the funds for the plan. HAMAS, through

its network of organizations, collected data on its own operatives as well as all other terrorists

killed, injured or in Israeli custody and transmitted that information to the Saudi Committee and

Defendant Arab Bank.

       285.    This can be seen from an August 2001 letter sent by Arab National Bank on behalf

of the Saudi Committee to Arab Bank, which states “We would like to provide you with the names

and addresses of the parties that have provided the Saudi Committee in Support of the Al-Quds

Intifada with the names of the transfers’ beneficiaries ….”

       286.    The letter goes on to list Al Salah Islamic Society and the Islamic Charitable

Society of Hebron.

       287.    Arab Bank’s coordination with local HAMAS representatives can be seen in

correspondence it received from the Al Salah Islamic Society.

       288.    In a May 2001 letter from the head of Al Salah, Ahmad Al-Kurd, to Muhammad

al-Tahan, Arab Bank’s Manager of Operations in the Palestinian Territories during the Second

Intifada, Al Salah requested that certain transfers from the Saudi Committee be stopped and

returned to the Saudi Committee.

       289.    Similarly, in a July 2001 letter from Al Salah to Arab Bank, Al Salah requested that

it be provided with a list of all the names of individuals who had pending transfers from the Saudi

Committee.

       290.    Every Palestinian family eligible for a Saudi Committee payment was encouraged

to collect the terrorism benefits through a local Arab Bank branch in the Palestinian Territories.

       291.    The conspiracy between the Saudi Committee and HAMAS and others was

ultimately designed to provide substantial material support to Palestinian terrorist organizations




                                                37
Case 1:18-cv-02192-HG-PK           Document 25 Filed 07/05/18             Page 38 of 82 PageID #:
                                             147



and to provide a meaningful incentive both to prospective recruits and to individuals contemplating

the commission of independent acts of violence in the name of the “popular resistance.” Arab Bank

knew that the purpose of the conspiracy and acts taken pursuant thereto was to encourage others

to engage in terrorist activities, and to support the continued commission of terrorist activities.

       292.    Arab Bank was aware of the methods and means by which HAMAS, PIJ, the PFLP,

and other Foreign Terrorist Organizations sought to carry out their objectives.

       293.    Arab Bank knowingly and substantially assisted in the recruitment of terrorists by

serving as the paymaster for this and other death and dismemberment insurance plans.

       294.    Any person who chose to participate in a suicide bombing or other terrorist attack

did so secure in the knowledge that if he or she was killed in that attack, the financial needs of his

or her family would be met for some time.

       295.    The same is true of the families of terrorists who were injured or apprehended.

       296.    In short, the Saudi Committee raised funds from private donors in Saudi Arabia and

elsewhere in the Persian Gulf region and then allocated payments to Arab Bank to fulfill its public

pledge of universal insurance coverage to Palestinian terrorists.

       297.    According to a U.S. State Department report, “Saudi Arabia continues to serve as

a base for Hamas fundraising, by means of direct Hamas representational presence in the Kingdom

of Saudi Arabia and through the possible continuing operation of the Account 98 system.”

       298.    Account 98 was the designated account at numerous Saudi banks for collecting

money destined for Palestinian putative charitable organizations.

       299.    According to the State Department Report:

       In 2003, the United States provided evidence to Saudi authorities that the Saudi al
       Quds lntifadah Committee (“Committee”) founded in October 2000, was
       forwarding millions of dollars in funds to the families of Palestinians engaged in
       terrorist activities, including those of suicide bombers. The funds were often



                                                 38
Case 1:18-cv-02192-HG-PK          Document 25 Filed 07/05/18            Page 39 of 82 PageID #:
                                            148



       transferred through integrated accounts at a number of major Saudi banks that were
       popularly referred to as Account 98.

       300.    This system of collecting funds via Account 98 was still in use in 2005. According

to the State Department Report:

       In fact, Account 98 appears to still be in operation, as it is widely advertised as a
       receiving point for contributions to Palestinian organizations. As of early December
       2005, on King Fahd Road, just south of the Ministry of Interior, there is a billboard
       reminding readers to “remember Jerusalem” (Al Quds) and to make donations to
       Account 98. U.S. visitors first observed the billboard in the spring of 2005.

       On August 29, 2005, a program aired in Saudi Arabia on lqra TV soliciting funds
       for the Saudi Committee for the Support of the al Quds Intifadah and asked donors
       to direct funds to a joint Account 98 at “all banks in the Kingdom of Saudi Arabia.”

       301.    Through the program administered by Arab Bank, the Saudi Committee paid and

transmitted death benefits to over 1,600 “martyrs” totaling more than $8,500,000. Between 2000

and 2002, the Saudi Committee paid more than $35,000,000 to the families of Palestinian

“martyrs,” “prisoners” and wounded.

       302.    According to Arab Bank’s then-Chief Banking Officer, Shukry Bishara, beginning

in December 2001 Arab Bank transmitted over $90,000,000 to Palestine on behalf of the Saudi

Committee to “institutions and individuals alike.”

       303.    In fact, Arab Bank served as the exclusive administrator for the Saudi Committee’s

payment programs.

       304.    Indeed, in its original website, the Saudi Committee openly declared that its funds

were transmitted and distributed to the families of martyrs through local branches of Arab Bank in

Palestine. Although it has since been removed from the internet, the original archived webpage

located at www.alquds-saudia.org\indexa.htm provided a list under the caption: “What has been

done with your donations?”




                                                39
Case 1:18-cv-02192-HG-PK           Document 25 Filed 07/05/18             Page 40 of 82 PageID #:
                                             149



       305.    Item number ten on the web page responds with the answer: “Opening a bank

account for every entitled [Palestinian] through the Arab Bank in Palestine.”

       306.    The website further listed numerous “martyrs” whose cause of death was listed as

“suicide attack.”

       307.    Similarly, in the annual report issued by the Saudi Committee and published in the

Saudi newspaper Al-Jazira on February 10, 2001, the Saudi Committee identified payments made

to “Martyrs of al-Aqsa Intifada – The West Bank (The Third Group).” A total of 22 individuals

are listed and for each “martyr,” the list identifies, inter alia, the name of the “martyr,” their

beneficiary, and their account number at Arab Bank.

       308.    Arab Bank provided a convenient means for transmitting and distributing payments

across Palestinian-controlled territories that would be far more difficult if attempted by other

means such as courier. Israeli territory separates the Gaza Strip from the West Bank, and Israeli

military checkpoints often separate one Palestinian city from another.

       309.    Arab Bank knew the criminal purpose that the accounts it opened and maintained

for the Saudi Committee were intended to serve.

       310.    The Saudi Committee and local HAMAS charitable front organizations publicly

and repeatedly advertised that purpose in both Saudi and Palestinian newspapers, on television and

on the Saudi Committee’s website, all of which were known to Arab Bank and all of which were

calculated to – and did – reach terrorists and potential terrorists. For example:

                      In the February 10, 2001 edition of the Saudi newspaper Al-Jazira, the
                       Saudi Committee published an annual report in which it listed the names of
                       Palestinian prisoners to whom it provided terrorism benefits as well as the
                       names of the Palestinian martyrs (including the names of those killed in
                       suicide bombings) whose families received terrorism death benefits;

                      In a November 23, 2001 edition of the Palestinian newspaper Al Quds, the
                       Saudi Committee placed an announcement listing the names of more than


                                                 40
Case 1:18-cv-02192-HG-PK          Document 25 Filed 07/05/18             Page 41 of 82 PageID #:
                                            150



                       1,000 individuals who had been injured during the Second Intifada or held
                       in Israeli custody and invited them or their families “to go to the branches
                       of the Arab Bank in their places of residence to receive their allocations
                       donated by the Committee...”; and

                      In a February 18, 2002 advertisement in the Palestinian newspaper Al
                       Hayyat Al Jedida, a HAMAS charitable front organization in Ramallah
                       announced that “the relatives of the martyrs, whose names hereby follow,
                       are requested to head for the Arab Bank branches in their place of residence
                       in order to receive the tenth payment from the Honorable Saudi Committee
                       – a sum of 5,316.06 USD ….” Among the names contained on this list are
                       Ayman Halawah, discussed above, Hatem Al-Shweikeh, discussed above,
                       who carried out the attack on November 4, 2001, and Mahmud Abu Hanud,
                       commander of HAMAS’ Izz al-Din al-Qassam Brigades in the West Bank.

       311.    Since the Saudi Committee raised its funds in Saudi currency, which could not

conveniently be converted into Israeli currency (most commonly used in Palestinian-controlled

areas), those funds were primarily converted into U.S. dollars through Arab Bank’s then-operating

New York branch and then routed to the local Arab Bank branches in the West Bank.

       312.    Arab Bank’s role was material and essential to the furtherance of the Saudi

Committee’s terror financing in two important respects.

       313.    First, Arab Bank provided both professionalism and transparency to the process,

thereby reassuring wealthy Saudi and Gulf State donors that the money they were contributing

would not be siphoned off by corrupt officials but would in fact reach the families of terrorists as

intended.

       314.    Second, Arab Bank, through its network of local branches in the West Bank and

Gaza Strip, provided an ideal distribution system that offered both convenience to the families of

the terrorists who were able to bypass both the corruption of the Palestinian Authority and the

uncertainty of cash payments delivered by courier, and the certainty of an accounting system that

minimized the risk of duplicate payments and unreliable record-keeping.




                                                41
Case 1:18-cv-02192-HG-PK           Document 25 Filed 07/05/18             Page 42 of 82 PageID #:
                                             151



C.     The Primary Palestinian Terrorist Groups

       315.    Several prominent terrorist organizations operate in Palestinian-controlled territory,

most notably HAMAS and PIJ.

       316.    HAMAS and PIJ are both radical Islamist terrorist organizations committed to the

globalization of Islam through violent “jihad” or holy war.

       317.    HAMAS and PIJ are formally committed to the destruction of the State of Israel

and to achieving their objectives by violent means, including acts of terrorism.

       318.    The HAMAS Charter states that HAMAS’ very purpose is to create an Islamic

Palestinian state throughout Israel by eliminating the State of Israel through violent jihad.

       319.    In addition, the nominal proto-government within Palestinian-controlled territory

known as the Palestinian Authority operated several paramilitary organizations through its political

organizations, the PLO and Fatah.

       320.    Through the PLO’s various permutations, including its “security services,” the PA

(and Fatah) competed with HAMAS and PIJ to commit terrorist attacks against civilian targets in

Israel, including attacks that have killed and injured United States citizens.

       321.    The AAMB is one of the more well-known and lethal terror organizations

sponsored by and belonging to Fatah.

       322.    In addition, the PFLP, one of the oldest Palestinian terrorist groups, known

primarily for its spree of hijackings and atrocities during the 1970s, also perpetrated terrorist

attacks during the Second Intifada.

       1.      The Islamic Resistance Movement (“HAMAS”)

               a.      HAMAS’ Founding and Structure

       323.    HAMAS is an acronym for “Harakat al-Muqawama al-Islamiyya,” the Islamic




                                                 42
Case 1:18-cv-02192-HG-PK          Document 25 Filed 07/05/18             Page 43 of 82 PageID #:
                                            152



Resistance Movement, which was founded in December 1987 by Sheikh Ahmed Yassin together

with Salah Shehada, Abd al-Aziz al-Rantisi, Muhammad Sham’a, Ibrahim al-Yazuri, Issa al-

Nashar and Abd al-Fatah Dukhan.

       324.      HAMAS is an offshoot of the Muslim Brotherhood, a radical Islamic group founded

in Egypt before World War II.

       325.      HAMAS is nominally divided into three interconnected wings: the political wing,

the “da’wa” (HAMAS’ putative social service or humanitarian component), and the military

operational wing known as the Izz-al-Din al-Qassam Brigades. Although these components have

separate responsibilities, the organization operates seamlessly, with each component working to

conduct the operations and achieve the illegal objectives of the terrorist group as a whole.

       326.      HAMAS’ social services are, in large part, administered by local “zakat,”

committees and charitable societies. These committees and societies were either established by

HAMAS or taken over by HAMAS via, inter alia, HAMAS members, operatives and activists

sitting as members of their governing committees. These committees and organizations collect and

distribute funds on behalf of HAMAS.

       327.      Al Mujama Al Islami (The Islamic Center – Gaza) and Al Jam’iya Al Islamiya (The

Islamic Society – Gaza) were both founded by Sheikh Yassin in the 1970s, prior to the formation

of HAMAS.

       328.      Once HAMAS was formed, both of these organizations provided the backbone of

HAMAS’ da’wa. As discussed below, Arab Bank maintained accounts for both of these

organizations.

       329.      One of the important roles of these organizations was their involvement in

channeling funds to pay expenses for and assist the families of terrorist operatives who were




                                                43
Case 1:18-cv-02192-HG-PK             Document 25 Filed 07/05/18           Page 44 of 82 PageID #:
                                               153



arrested, injured or killed. These entities also assisted with providing housing subsidies to the

families of suicide bombers whose homes were often demolished by the Israeli army after the

bomber’s identity had been confirmed.

          330.   The network of these “charities” and other “charitable” associations not only helped

raise funds for HAMAS’ terrorist operations, but also helped it to identify and recruit potential

terrorists. The network also assisted recruitment, in part, by funneling money to pay benefits to the

families of terrorist operatives who were arrested, injured, or killed.

          331.   Due to the substantial expenditures of HAMAS and the fungible nature of money,

significant sums of monies collected externally under putative charitable and humanitarian banners

are routed for HAMAS’ terrorist and other operational uses, in addition to being used to free up

other funds for specific terrorist acts. HAMAS used (and still uses) such funds to, among other

things, provide weapons, explosives, transportation services, safehouses, training and salaries for

its terrorist operatives and for terrorist recruiters.

          332.   As noted above, HAMAS is a Foreign Terrorist Organization dedicated to radical

Islamist principles and the destruction of the State of Israel. It also uses violence, principally

suicide bombings, and threats of violence to pressure Israel to cede territory to the Palestinian

people.

                 b.     HAMAS’ Formal Designation as a Terrorist Organization

          333.   In 1989, Israel’s Ministry of Defense designated HAMAS an “unlawful

organization” and the Government of Israel declared HAMAS a “terrorist organization” because

of its terrorist acts. Notice of the designation was placed in the official Government of Israel

publication, the Announcements and Advertisements Gazette.

          334.   On January 23, 1995, President Clinton issued Executive Order No. 12947.




                                                    44
Case 1:18-cv-02192-HG-PK           Document 25 Filed 07/05/18             Page 45 of 82 PageID #:
                                             154



President Clinton found that “grave acts of violence committed by foreign terrorists that threaten

to disrupt the Middle East peace process constitute an unusual and extraordinary threat to the

national security, foreign policy, and economy of the United States.”

       335.    Executive Order No. 12947 designated HAMAS a Specially Designated Terrorist

(“SDT”). Executive Order No. 12947 blocked all property and interests in property of the terrorist

organizations and persons designated in the Order, including HAMAS.

       336.    On October 8, 1997, by publication in the Federal Register, the United States

Secretary of State designated HAMAS a Foreign Terrorist Organization pursuant to Section 219

of the Immigration and Nationality Act and the AEDPA of 1996. The designation of HAMAS as

an FTO has been renewed every two years since 1997.

       337.    After the September 11, 2001 terrorist attacks on the United States, President Bush

issued Executive Order No. 13224, declaring a national emergency with respect to the “grave acts

of terrorism ... and the continuing and immediate threat of further attacks on United States nationals

or the United States.”

       338.    Executive Order No. 13224 designated HAMAS a Specially Designated Global

Terrorist (“SDGT”). Executive Order No. 13224 blocked all property and interests in property of

SDGTs, including HAMAS.

               c.        HAMAS’ Leadership

                         1.    Sheikh Ahmed Yassin

       339.    As noted above, Sheikh Ahmed Yassin founded HAMAS in 1987. He was also its

spiritual leader and iconic symbol.

       340.    During the 1970s, Yassin established Al Mujama Al Islami and Al Jam’iya Al

Islamiya. These two organizations are central organizations within HAMAS’ da’wa.




                                                 45
Case 1:18-cv-02192-HG-PK           Document 25 Filed 07/05/18           Page 46 of 82 PageID #:
                                             155



          341.   On January 25, 1995, Yassin was designated an SDT pursuant to Executive Order

12947.

          342.   On August 22, 2003, Yassin was designated an SDGT pursuant to Executive Order

13224.

          343.   Yassin maintained account number 36444 at Arab Bank’s Gaza branch.

          344.   On May 30, 2001, Yassin received a $60,000 transfer into this account from Yousef

El Hayek through Arab Bank’s New York branch.

          345.   Yassin’s wife, Halima Hasan Yassin, also maintained an account at Arab Bank and

received $153,435 between November 2000 and May 2001 through Arab Bank’s New York

branch.

          346.   Sheikh Yassin was assassinated by Israel in March 2004.

                        2.     Salah Shehada

          347.   As noted above, Salah Shehada was one of the founders of HAMAS.

          348.   After HAMAS was founded, Shehada was appointed to head HAMAS’ operations

in the northern Gaza Strip.

          349.   Shehada was also the founder of HAMAS’ operational terrorist wing, the Izz al-

Din al-Qassam Brigades.

          350.   Shehada was arrested by Israel in 1988 and released in 2000. He was killed by the

Israel Defense Forces (“IDF”) in July 2002.

          351.   Shehada maintained account number 349321510 at Arab Bank’s Gaza branch.

Between November 2000 and February 2001, he received seven transfers totaling $109,500

through Arab Bank’s New York branch.

          352.   Shehada’s wife also received a Saudi Committee prisoner payment of $2,655.




                                                46
Case 1:18-cv-02192-HG-PK            Document 25 Filed 07/05/18                 Page 47 of 82 PageID #:
                                              156



                        3.      Hamdan Account

       353.    Arab Bank knowingly provided banking services to HAMAS directly through its

Al-Mazra Branch Account # 3-810-622473-0330 in Beirut which collected funds directly in the

name of HAMAS.

       354.    This account was opened in July 1998 by Osama Hamdan as an individual account.

       355.    Osama Hamdan has been HAMAS’ representative in Lebanon since 1998 and a

senior HAMAS leader.

       356.    Hamdan was not a clandestine figure unknown to the public.

       357.    For example, on March 27, 2002, following the infamous bombing of the Park

Hotel in Netanya, Israel on Passover, he was interviewed by CNN regarding the bombing. CNN

identified Hamdan as HAMAS’ spokesman.

       358.    In August 2003, the U.S. Treasury Department designated Hamdan an SDGT due

to his leadership position in HAMAS.

       359.    According to the U.S. Treasury press release announcing his designation:

       Hamdan, a senior HAMAS official based in Lebanon, maintains contact with
       representatives with other terrorist organizations with the purpose of strengthening
       the ties between these organizations in order to strengthen an international Islamic
       Jihad. He has worked with other HAMAS and Hizballah leaders on initiatives to
       develop and activate the military network inside the Palestinian territories in
       support of the current intifada, including the movement of weapons, explosives and
       personnel to the West Bank and Gaza for HAMAS fighters.

       Funds transferred from charitable donations to HAMAS for distribution to the
       families of Palestinian “martyrs” have been transferred to the bank account of
       Hamdan and used to support HAMAS military operations in Israel.

       360.    The United States Department of Justice has identified the website: www.palestine-

info.com as the “official” website of the political wing of HAMAS.5



5
       The website has since migrated to a new “URL” and can be found at https://www.palinfo.com.


                                                    47
Case 1:18-cv-02192-HG-PK          Document 25 Filed 07/05/18              Page 48 of 82 PageID #:
                                            157



       361.    The website itself solicited funds and asked contributors to send money to its Al-

Mazra Branch Account # 3-810-622473-0330 at Arab Bank in Beirut, but it also asked donors “to

cite only the account number and not the name of the [Palestine Information] Center or any other

names.”

       362.    As noted above, this account was opened by Osama Hamdan, not the Palestine

Information Center.

       363.    During the 2014 civil trial against Arab Bank for attacks perpetrated by HAMAS,

three wire transfers to this account were introduced into evidence for which the listed beneficiary

was “Harakat al Muqawamah al Islamiyah Hamas” or “Hamas Organization.”

       364.    There were also additional wire transfers that listed the beneficiary as the “Palestine

Information Center” – the name given to HAMAS’ website.

       365.    This account was maintained by Arab Bank until several months after the Linde v.

Arab Bank lawsuit was filed in July 2004.

       366.    At the end of August 2004, more than a year after Hamdan had been designated an

SDGT by the U.S. Government, Arab Bank finally took steps to close the account.

       367.    Arab Bank retained the $8,677.92 that was contained in the account until March

30, 2005, at which point the Defendant issued a check in that amount to Hamdan, who retrieved

the money from Arab Bank.

       368.    Arab Bank knowingly provided Hamdan with the funds despite knowing that he

had been designated an SDGT by the U.S. Government because he was a senior HAMAS official.

                      4.      Muhammad Sham’a

       369.    As noted above, Muhammad Sham’a was one of the founders of HAMAS.

       370.    He was born in 1937 and was one of the co-founders of Al Mujama Al Islami.




                                                 48
Case 1:18-cv-02192-HG-PK         Document 25 Filed 07/05/18            Page 49 of 82 PageID #:
                                           158



       371.    After HAMAS was founded, Sham’a was put in charge of Shati Refugee Camp.

       372.    Sham’a maintained account number 513636510 at Arab Bank’s Gaza branch.

       373.    Between January 2001 and December 2001 he received at least four transfers

totaling $144,000 through Arab Bank’s New York branch.

                        5.    Abd al-Fatah Dukhan

       374.    As noted above, Abd al-Fatah Dukhan was one of the founders of HAMAS.

       375.    Dukhan was a member of Al Mujama Al Islami and headed its Nusairat Refugee

Camp branch.

       376.    With the founding of HAMAS, Dukhan was put in charge of the central camps

(four refugee camps).

       377.    Dukhan received a Saudi Committee prisoner payment of $2,655 through Arab

Bank on behalf of his son who was imprisoned in Israel.

                        6.    Ismail Abd al-Salam Haniya

       378.    Ismail Haniya was born in 1962 in the Shati Refugee Camp in Gaza.

       379.    In 1981, he joined the Islamic Bloc (Al-Kutla Al-Islamiya), the student affiliation

of the Muslim Brotherhood, from which HAMAS emerged.

       380.    Haniya served as a member of Al Jam’iya Al Islamiya’s senior administrative body

and headed its club in Gaza for approximately 10 years.

       381.    Haniya became a close aide to Sheikh Yassin.

       382.    In 2006, Haniya led HAMAS’ Change and Reform List when HAMAS won the PA

elections, and he became the Prime Minister of the HAMAS government in Gaza.

       383.    He is currently the head of HAMAS.

       384.    Haniya maintained account number 63517500 at Arab Bank’s Gaza branch.




                                               49
Case 1:18-cv-02192-HG-PK           Document 25 Filed 07/05/18           Page 50 of 82 PageID #:
                                             159



         385.   Between July 2000 and September 2001, Haniya received 19 transfers totaling

$420,100 through Arab Bank’s New York branch.

                       7.        Ismail Abu Shanab

         386.   Ismail Abu Shanab was born in 1950 in the Nuseirat Refugee Camp in the Gaza

Strip.

         387.   He studied engineering at al-Mansura University in Egypt and received a master’s

degree in engineering from the University of Colorado.

         388.   Abu Shanab was one of the founders of Al Jam’iya Al Islamiya.

         389.   He was a close aide to Sheikh Yassin, serving as his deputy.

         390.   Abu Shanab was killed in an IDF operation in August 2003.

         391.   Abu Shanab maintained account number 236519510 at Arab Bank’s Gaza branch.

Between August 2000 and August 2001, Abu Shanab received nine transfers totaling $173,172

through Arab Bank’s New York branch.

                       8.        Abbas Muhammad Mustafa al-Sayed

         392.   Abbas al-Sayed was born in 1966 in Tulkarem.

         393.   He studied mechanical engineering at Al-Yarmuk University in Jordan. He also

received an MA in Medical Engineering from a university in America.

         394.   During the Second Intifada, al-Sayed was one of Hamas’s most senior political and

terrorist leaders in Tulkarem.

         395.   Al-Sayed was the mastermind of the March 27, 2002 bombing of the Park Hotel in

Netanya. During his interrogation, he confessed to having supervised the terrorist attack and to

having participated in the preparation of the explosive charge.




                                                50
Case 1:18-cv-02192-HG-PK           Document 25 Filed 07/05/18            Page 51 of 82 PageID #:
                                             160



          396.   During his interrogation, Abbas al-Sayed stated that he used funds sent to his Arab

Bank account from abroad to buy weapons.

          397.   An Israeli court convicted him and sentenced him to 35 life terms of imprisonment

for his role in the Park Hotel attack.

          398.   Al-Sayed maintained account number 90705094240 at Arab Bank’s Tulkarem

branch.

          399.   Between February 2001 and May 2001, Abbas al-Sayed received nine transfers

totaling $123,000 through Arab Bank’s New York branch.

                        9.      Salah al-Din Darwazah

          400.   Salah Darwazah was born in 1963.

          401.   He received a Bachelor of science degree from Al-Quds University.

          402.   In 1992, he was among the 400 Palestinians terrorist leaders deported to Marj al-

Zuhur, Lebanon.

          403.   He was one of HAMAS’ leading political figures in the Nablus area as well as a

senior commander in the Izz al-Din al-Qassam Brigades in the Samaria region.

          404.   Darwazah was killed by the IDF on July 25, 2001.

          405.   Darwazah’s wife, Huda Ahmad Darwazah, maintained account number 4286871-

510 at Arab Bank’s Nablus branch.

          406.   Between July 2000 and June 2001, she received 20 transfers totaling $302,000

through Arab Bank’s New York branch.

                        10.     Jamal Salim Damuni

          407.   Jamal Salim was born in 1958 in Nablus.

          408.   He studied Islamic Law at the University of Jordan, graduating in 1982.




                                                 51
Case 1:18-cv-02192-HG-PK          Document 25 Filed 07/05/18          Page 52 of 82 PageID #:
                                            161



       409.    Salim continued his Islamic Studies at al-Najah University, graduating in 1996.

       410.    In 1992, he was among the 400 Palestinians terrorist leaders deported to Marj al-

Zuhur, Lebanon.

       411.    Salim was the head of HAMAS’ Samarian branch, together with Jamal Mansur.

       412.    Salim was also a member of the Al-Tadamun Charitable Society - Nablus.

       413.    Salim was killed by the IDF on July 31, 2001.

       414.    Salim maintained account number 4033906-500 at Arab Bank’s Nablus branch.

       415.    Between December 2000 and March 2001, he received three transfers totaling

$13,500 through Arab Bank’s New York branch.

                      11.     Jamal Abd al-Rahman Muhammad Mansur

       416.    Jamal Mansur was born in 1960 in Balata Refugee Camp, near Nablus.

       417.    Mansur studied Accounting and Business Management in Al-Najah University in

Nablus between 1978-1982.

       418.    Mansur was HAMAS’ spokesman in the West Bank and was arrested several times

by Israel and the Palestinian Authority.

       419.    In 1992, he was among the 400 Palestinians terrorist leaders deported to Marj al-

Zuhur, Lebanon.

       420.    Mansur was killed by the IDF on July 31, 2001.

       421.    Mansur’s wife, Muna Salim Saleh Mansur, maintained account number

4064788500 at Arab Bank’s Nablus branch.

       422.    Between December 2000 and September 2001, she received four transfers totaling

$85,000 through Arab Bank’s New York branch. She also received two payments from the Saudi

Committee.




                                               52
Case 1:18-cv-02192-HG-PK         Document 25 Filed 07/05/18            Page 53 of 82 PageID #:
                                           162



                      12.    Ghazi Ahmad Hamad

       423.   Ghazi Hamad was born in 1964 in Rafah.

       424.   Hamad served as a senior HAMAS spokesman.

       425.   Ghazi Hamad also headed the HAMAS newspaper, Al-Risala.

       426.   Hamad maintained account number 1170465-510 at Arab Bank’s Gaza branch.

       427.    Between July 2000 and January 2002, he received 15 transfers totaling $152,986

through Arab Bank’s New York branch.

                      13.    Mahdi Shaker Hasan al-Hanbali

       428.   Mahdi Hanbali received an M.A. in Transportation Engineering from the

University of Belarus in 1989.

       429.   Hanbali was secretary of al-Tadamun’s sports club.

       430.   In 2005, he was elected Deputy Mayor for Administrative & Financial Affairs,

representing HAMAS’ Change & Reform Party in Nablus.

       431.   Hanbali maintained account number 4026306-510 at Arab Bank’s Nablus branch.

       432.    Between July 2000 and February 2002, he received 28 transfers totaling $397,450

through Arab Bank’s New York branch.

                      14.    Abd al-Khaleq Hasan al-Natsha

       433.   Abd al-Khaleq al-Natsha was born in 1954 in Hebron.

       434.   During the First Intifada, he was arrested several times because of his activity for

HAMAS.

       435.   In 1992, he was among the 400 Palestinians terrorist leaders deported to Marj al-

Zuhur, Lebanon.




                                               53
Case 1:18-cv-02192-HG-PK         Document 25 Filed 07/05/18            Page 54 of 82 PageID #:
                                           163



       436.    He was the head of the Islamic Charitable Society in Hebron until his arrest in

August 2002.

       437.    During the Second Intifada, he was the head of HAMAS in Hebron and the

HAMAS spokesman there.

       438.    Natsha maintained account number 7567847510 at Arab Bank’s Hebron branch.

       439.    In July 2001, he received a transfer totaling $15,000 through Arab Bank’s New

York branch.

               d.     HAMAS’ External Financing

       440.    HAMAS received a majority of its financing through donations coordinated by

prominent Saudi and Gulf State charities and the global network of charities known as the Union

of Good. The Union of Good, in turn, raised funds that were, in part, channeled through an entity

known as the Palestine Relief and Development Fund (“Interpal”), a British putative charity that

was designated an SDGT by the U.S. Government in August 2003.

       441.    Arab Bank admits to processing 282 funds transfers for U.S.-designated Palestinian

terrorist organizations and U.S.-designated Palestinian terrorists from the date of designation of

those individuals or entities through December 21, 2007.

       442.    Arab Bank admits to processing $2,563,275 in funds transfers for U.S.-designated

Palestinian terrorist organizations and U.S.-designated Palestinian terrorists from the date of

designation of those individuals or entities through December 21, 2007.

                      1.      The Union of Good

       443.    I’Tilafu Al-Khayr a/k/a the Union of Good was an umbrella organization

established by HAMAS’ leadership in October 2000, immediately following the outbreak of the

Second Intifada. It comprised more than 50 Islamic charitable foundations worldwide.




                                               54
Case 1:18-cv-02192-HG-PK            Document 25 Filed 07/05/18       Page 55 of 82 PageID #:
                                              164



       444.   The Union of Good was a principal fundraising mechanism for HAMAS.

       445.   The Union of Good maintained account 002850/811/9 at Arab Bank in Beirut and

actively solicited funds to that account, including funds transfers cleared in USD through Arab

Bank’s New York Branch.

       446.   The Union of Good’s primary “charitable” purpose was to provide financial support

for HAMAS and its agents in the Palestinian Territories.

       447.   The Government of Israel outlawed the Union of Good and one of its member

organizations, the World Assembly of Muslim Youth, in February 2002 and further outlawed 36

of its member organizations in July 2008.

       448.   Three member organizations of the Union of Good – Interpal, Commite de

Bienfaisance et de Secours aux Palestiniens (“CBSP”) and the Al Aqsa Foundation – were

designated by the Government of Israel in 1997.

       449.   The Al Aqsa Foundation in Germany opened account number 300733-300 at Arab

Bank’s Frankfurt branch in 1994.

       450.   The Al Aqsa Foundation in Germany was closed down by the German Government

in 2002.

       451.   On May 29, 2003, the United States designated Al Aqsa Foundation an SDGT

because of its role as a HAMAS fundraiser.

       452.   On August 19, 2003, a HAMAS suicide bomber blew up Egged Bus #2, killing 23

people, including seven children.

       453.   On August 22, 2003, pursuant to Executive Order 13224, President Bush linked

HAMAS to the Egged Bus #2 attack, identified CBSP and Interpal as HAMAS fundraising entities,

and designated them SDGTs, referencing CBSP as the “primary fundraiser[] for HAMAS in




                                               55
Case 1:18-cv-02192-HG-PK         Document 25 Filed 07/05/18            Page 56 of 82 PageID #:
                                           165



France,” and Interpal as “the fundraising coordinator of HAMAS.”

       454.   Other Union of Good members designated by the U.S. Government include

Association de Secours Palestinien (“ASP”) and Palestinian Association in Austria (“PVOE”)

(both designated on August 22, 2003 with CBSP and Interpal).

       455.   Arab Bank (Switzerland) Ltd. maintained an account for ASP and transferred funds

on its behalf to HAMAS da’wa organizations in the Palestinian Territories.

       456.   The United States Government designated the Union of Good itself an SDGT on

November 12, 2008. The press release announcing the designation noted:

       The Union of Good acts as a broker for Hamas by facilitating financial transfers
       between a web of charitable organizations—including several organizations
       previously designated under E.O. 13224 for providing support to Hamas—and
       Hamas-controlled organizations in the West Bank and Gaza. The primary purpose
       of this activity is to strengthen Hamas’ political and military position in the West
       Bank and Gaza, including by: (i) diverting charitable donations to support Hamas
       members and the families of terrorist operatives; and (ii) dispensing social welfare
       and other charitable services on behalf of Hamas.
       …
       Funds raised by the Union of Good affiliates have been transferred to Hamas-
       managed organizations in the West Bank and Gaza. In addition to providing cover
       for Hamas financial transfers, some of the funds transferred by the Union of Good
       have compensated Hamas terrorists by providing payments to the families of
       suicide bombers.

       457.   As previously noted, the Union of Good used Interpal as its principal clearing house

for funds raised throughout Europe and the Middle East.

       458.   The Union of Good’s “101 Days Campaign” maintained its own website at

www.101days.org. The campaign solicited funds for HAMAS and directed prospective donors to

donate via Interpal’s bank accounts.

       459.   Similarly, CBSP’s website solicited funds for the 101 Days Campaign and provided

contact information and bank account information for donations. Among the organizations listed

on this website were several U.S.-designated SDGTs including Interpal, CBSP and various



                                               56
Case 1:18-cv-02192-HG-PK               Document 25 Filed 07/05/18                  Page 57 of 82 PageID #:
                                                 166



branches of the Al Aqsa Foundation.

        460.     As noted above, the Union of Good is headed by Dr. Yousef al-Qaradawi, an

extremist Sunni Muslim scholar based in Qatar. Al-Qaradawi has been on the U.S. Watch List

since November 1999 and cannot travel to the United States.

        461.     Al-Qaradawi is well known in the Arab world. He had his own weekly television

program on Al Jazeera and has very publicly issued an Islamic religious edict (fatwa) authorizing

suicide bombing attacks against Israel.6

        462.     In 2001, al-Qaradawi publicly described the activities of the putative Islamic

charitable societies sustaining the Second Intifada against Israel as a “new type of jihad, financial

jihad, through which financial support is guaranteed to the martyrs’ families, Palestinian prisoners

and detainees, and every Palestinian whose property is damaged during the conflict.”

        463.     In an interview with The Guardian newspaper in October 2005, al-Qaradawi

discussed suicide bombing in Israel and was quoted as saying:

        The actor who commits this is a martyr because he gave his life for the noble cause
        of fighting oppression and defending his community. These operations are best seen
        as the weapon of the weak against the powerful. It is a kind of divine justice when
        the poor, who don’t have weapons, are given a weapon which the fully equipped
        and armed-to-the-teeth powerful don’t have - the powerful are not willing to give
        their lives for any cause.

        464.     During a 2007 broadcast on Al Jazeera, al-Qaradawi sat next to the then-head of

HAMAS, Khalid Mishal, a designated SDGT. During the broadcast, al-Qaradawi stated:

        I support the Palestinian cause. I support resistance and jihad. I support Hamas. I
        support the [Islamic] Jihad group, I support Hizballah. I am against the peace that
        Israel and America want to dictate. This is an illusory peace. I support amaliyat
        istishhadyia [suicide attacks] and this is the straw [that broke the camel’s back].
        What should I do now? This big terrorist is sitting next to me and they will accuse
        me because of this today.

6
         Al-Qaradawi was also the first scholar who authorized women to commit suicide attacks (March 2002) in the
context of the Second Intifada, as cited in HAMAS’ official website: http://www.palestine-
info.info/arabic/fatawa/alamaliyat/qaradawi.htm.


                                                       57
Case 1:18-cv-02192-HG-PK            Document 25 Filed 07/05/18             Page 58 of 82 PageID #:
                                              167




        465.   During the same conference, Khalid Mishal stated:

        The third point: the Union of Good. One of the blessings of our Sheikh, may Allah
        reward him is that he supports what he says with acts. His support of the Palestinian
        people and the Intifada was not in words, positions and fatwas [religious rulings]
        only, but also in activities and efforts. He sponsored a big project which is the Union
        of Good during the Second Intifada – the blessed al-Aqsa Intifada. I do not
        exaggerate when I say that what the projects of Union of Good provided - the
        blessed money from the good people of the [Muslim] nation to the steadfast people
        on the land of Palestine was tens, even hundreds of millions of dollars. I wish that
        this will be in the Sheikhs balance of good deeds.

                       2.      Interpal

        466.   As noted above, charitable donations to the Union of Good are partially collected

and distributed through Interpal.

        467.   Interpal was founded in 1981 as the Palestine and Lebanon Relief Fund and was

reincorporated as Interpal in November 1994.

        468.   As noted above, the U.S. Government designated Interpal an SDGT on August 22,

2003.

        469.   Between January 1999 and August 22, 2003, Interpal transferred over $8,800,000

to beneficiaries who maintained accounts at Arab Bank.

        470.   Between August 23, 2003 and December 2004, Interpal transferred over $600,000

to beneficiaries who maintained accounts at Arab Bank.

        471.   According to testimony during the Linde v. Arab Bank trial, Arab Bank’s branch in

London maintained an account for Interpal.

                       3.      Holy Land Foundation for Relief and Development

        472.   The Holy Land Foundation (“HLF”), originally known as the Occupied Land Fund,

was founded in the late 1980s in California. In 1992 it relocated to Richardson, Texas. HLF

maintained representative offices in the West Bank and Gaza.



                                                  58
Case 1:18-cv-02192-HG-PK           Document 25 Filed 07/05/18         Page 59 of 82 PageID #:
                                             168



       473.    HLF was HAMAS’ primary fundraiser in the United States until it was designated

an SDGT in December 2001.

       474.    HLF supported HAMAS with money that was delivered to HAMAS-controlled

putative charitable societies in the Palestinian Territories.

       475.    For example, between 1989 and 1994, HLF sent more than $730,000 to Al Mujama

Al Islami and its director (and HAMAS co-founder) Ibrahim al-Yazuri.

       476.    Arab Bank knowingly laundered funds for HLF for more than a decade and also

maintained account number 3526801-510 at its Jericho Branch for HLF.

       477.    Arab Bank accomplished this by channeling tens of thousands of dollars for HLF

through its New York branch to the Ramallah Zakat Committee, the Tulkarem Zakat Committee,

Nablus Zakat Committee, Jenin Zakat Committee’s al-Razi Hospital, Qalqilya Zakat Committee

and the Islamic Charitable Society of Hebron, all agents of HAMAS.

       478.    On March 14, 1996 the Government of Israel issued a confiscation order directed

at HLF.

       479.    On March 15, 1996, a feature article in The New York Times detailed the financing

of HAMAS by so-called charitable organizations. The article specifically discussed Israeli

Government claims that HLF was a “key fundraising operation” for HAMAS.

       480.    On May 6, 1997, Israel’s Ministry of Defense designated HLF an “unlawful

association” and declared that HLF “deals in the practice of transferring monies to families of

HAMAS activists, who carried out deadly attacks ...” The Government of Israel further declared

HLF a terrorist organization on January 17, 1998.

       481.    On September 25, 1997, the PA closed what it identified as 16 HAMAS institutions

and associations.




                                                  59
Case 1:18-cv-02192-HG-PK          Document 25 Filed 07/05/18             Page 60 of 82 PageID #:
                                            169



       482.     HLF’s Gaza office was one of the entities (temporarily) closed by the PA.

       483.     The closure, including identification of HLF as a targeted HAMAS entity, was

detailed in a Jerusalem Post news account on September 28, 1997.

       484.     HLF and its officers have been convicted in the United States District Court for the

Northern District of Texas for knowingly providing material support to HAMAS – including for

specific transactions involving payments HLF made to the Islamic Charitable Society of Hebron,

the Ramallah Zakat Committee, Tulkarem Zakat Committee, Nablus Zakat Committee, and Jenin

Zakat Committee.

       485.     The HLF indictment specified particular financial transactions HLF initiated that

resulted in monetary transfers to the Ramallah Zakat Committee, Tulkarem Zakat Committee, and

the Islamic Charitable Society of Hebron which violate 18 U.S.C. § 2339B.

                       4.      Welfare Association for Palestinian and Lebanese Families a/k/a
                               Al-Waqfiya

       486.     The Welfare Association for Palestinian and Lebanese Families (Al-Waqfiya) was

designated an SDGT on October 4, 2012.

       487.     On December 2, 2012, the Government of Israel designated it a terrorist

organization.

       488.     According to the U.S. Treasury Department, Al-Waqfiya is “a central component

of the Union of Good, which was designated pursuant to E.O. 13224 in November 2008 for

supporting Hamas, was established by Hamas in 2000 to financially support the families of Hamas

terrorists. The organization has been run by senior Hamas leadership for years, and several senior

Hamas leaders play a dominant role within the organization. Al-Waqfiya has facilitated the

collection of money on Hamas’s behalf, and has used its ties with money-changers and merchants

in the Middle East to transfer funds to Hamas in Gaza.”



                                                 60
Case 1:18-cv-02192-HG-PK             Document 25 Filed 07/05/18          Page 61 of 82 PageID #:
                                               170



       489.         During the relevant period, Arab Bank maintained account number 2850-9-810 in

Beirut for Al-Waqfiya.

       490.      In 2001, Arab Bank transferred tens of thousands of USD through its then-active

New York branch on behalf of Al-Waqfiya to a variety of HAMAS-controlled entities, including

the Islamic Charitable Society of Hebron and the Al-Nur Society.

                          5.      HAMAS-Controlled Entities in the West Bank and Gaza

       491.      As noted above, HAMAS raises funds to support its terrorist acts through a network

of “charitable” front organizations called the da’wa.

       492.      Arab Bank knowingly provided banking services to these zakat committees and

charitable committees and affirmatively assisted them in collecting, receiving, transmitting and

distributing funds to support the Second Intifada terror campaign.

       493.         The following organizations were designated by the Government of Israel as

“unlawful organizations” that were determined to belong to HAMAS:

                i.        Al Mujama Al Islami a/k/a The Islamic Center – Gaza;

               ii.        Al Jam’iya Al Islamiya a/k/a The Islamic Society – Gaza;

              iii.        Al Salah Islamic Society – Gaza;

              iv.         Al Nur Society – Gaza;

               v.         Islamic Charitable Society of Hebron;

              vi.         Ramallah Zakat Committee;

           vii.           Tulkarem Zakat Committee;

           viii.          Nablus Zakat Committee;

              ix.         Jenin Zakat Committee;

               x.         Al-Tadamun Charitable Society – Nablus;




                                                   61
Case 1:18-cv-02192-HG-PK              Document 25 Filed 07/05/18           Page 62 of 82 PageID #:
                                                171



              xi.          Al Islah Charitable Society Jericho;

           xii.            Al Islah Charitable Society – Ramallah-al-Bireh;

          xiii.            Nablus Zakat Committee;

           xiv.            Quran and Sunnah Society Qalqilya; and

              xv.          Al-Huda Women’s Society.

       494.       On August 7, 2007, the United States Government designated Al Salah Islamic

Society – Gaza and its Chairman, Ahmad al-Kurd, SDGTs.

       495.       According to the U.S. Treasury Press Release announcing the designation:

       One of the most senior Gaza-based Hamas leaders and founders, Ismail Abu
       Shanab, openly identified the Al-Salah Society as “one of the three Islamic charities
       that form Hamas’ welfare arm.” The Al-Salah Society has received substantial
       funding from Persian Gulf countries, including at least hundreds of thousands of
       dollars from Kuwaiti donors.
       …
       The Al-Salah Society has employed a number of Hamas military wing members.
       In late 2002, an official of the Al-Salah Society in Gaza was the principal leader of
       a Hamas military wing structure in the Al-Maghazi refugee camp in Gaza. The
       founder and former director of the Al-Salah Society’s Al-Maghazi branch
       reportedly also operated as a member of the Hamas military wing structure in Al-
       Maghazi, participated in weapons deals, and served as a liaison to the rest of the
       Hamas structure in Al-Maghazi. At least four other Hamas military wing members
       in the Al-Maghazi refugee camp in Gaza were tied to the Al-Salah Society.

       496.         According to the same press release, “The Al-Salah Society was included on a list

of suspected Hamas and Palestinian Islamic Jihad-affiliated NGOs whose accounts were frozen by

the Palestinian Authority as of late August 2003. After freezing the bank accounts, PA officials

confirmed that the Al-Salah Society was a front for Hamas.”

       497.         Arab Bank provided financial services to organizations designated by the

Government of Israel as “unlawful organizations” that were determined to belong to HAMAS.

       498.         Arab Bank provided financial services through bank accounts for the following

organizations:



                                                    62
Case 1:18-cv-02192-HG-PK     Document 25 Filed 07/05/18          Page 63 of 82 PageID #:
                                       172



            (1)    Tulkarem Zakat Committee Account No. 9070-500010-6-500 (Dinar);
                   9070-500010-6-510 (USD); 9070-500010-6-520 (GBP); 9070-500010-0-
                   520; 9070-500010-6-596 (EUR);

            (2)    Tulkarem Zakat Committee Account No. 1003-536447-301 (at Arab Bank’s
                   Kensington Branch);

            (3)    Ramallah-al-Bireh Zakat Committee Account No. 9030-610686-2-510
                   (USD); 9030-610686-2-500 (Dinar); (530 – EUR); (570 – NIS);

            (4)    Nablus Zakat Committee Account No. 9020-400336-0-500; 9020-400336-
                   5-500; 9020-400336-5-598;

            (5)    Al Mujama Al Islami Account No. 9500-012410-9-510 (USD);

            (6)    Islamic Charitable Society of Hebron Account No. 9040-750049-0- (500 –
                   Dinar); (510 – USD); (570 – NIS);

            (7)    Islamic Charitable Society of Hebron Account No. 9040-750049-1-510
                   (USD);

            (8)    Al Jam’iya Al Islamiya Account No. 411-546868-1003 (at Arab Bank’s
                   Kensington Branch);

            (9)    Al Jam’iya Al Islamiya Account No. 9500-3683 (500 - Dinar); (510 – USD)
                   (511 – USD) (570 – NIS) (594 – EUR);

            (10)   Al Jam’iya Al Islamiya Jebalya Account No. 9500-015115 (500 – Dinar);
                   (510 – USD); (570 – NIS) (530 – EUR);

            (11)   Al Jam’iya Al Islamiya Nusairat Account No. 58580;

            (12)   Al Jam’iya Al Islamiya East Area Account No. 12191;

            (13)   Al Jam’iya Al Islamiya Rafah Account No. 2036;

            (14)   Al Jam’iya Al Islamiya Qarara Account No. 200139;

            (15)   Al Salah Islamic Society – Gaza Account No. 9500-5600-510 (USD); 9500-
                   5600-6;

            (16)   Jenin Zakat Committee Account No. 543079301; 9060-581345 (500 – JOD);
                   (510 – USD); (570 – NIS);

            (17)   Jenin Zakat Committee Account No. 1003-225-543087 (at Arab Bank’s
                   Kensington Branch);



                                          63
Case 1:18-cv-02192-HG-PK        Document 25 Filed 07/05/18             Page 64 of 82 PageID #:
                                          173




              (18)   Al Islah Charitable Society Account No. 9030-649611-3 (500 – Dinar);
                     (510 –USD); (530 – EUR) (570 – NIS);

              (19)   Al-Tadamun Charitable Society – Nablus Account No. 400271-7 (500 –
                     Dinar); (510 – USD); (520 – GBP) (570 – NIS) (598 – EUR);

              (20)   Quran and Sunnah Society – Qalqilya Account No. 9080-542042 (500 –
                     Dinar); (510 – USD); (570 – NIS);

              (21)   al Huda Women’s Society Account No. 9030-609509-7 (500 – Dinar); (510
                     –USD); (570 – NIS); and

              (22)   Islamic University of Gaza Account No. 003155 (500 – Dinar); (510 –
                     USD); (511 – USD); (512 – USD); (513 – USD); (514 – USD); (515 –
                     USD); (516 – USD); (517 – USD); (518 – USD); (519 – USD); (520 –
                     GBP); (570 – NIS); (571 – NIS); (580 – EUR); (581 – EUR).

       499.   Between 1999 and 2004, Arab Bank processed wire transfers through its former

New York branch for the following:

              (1)    Al Mujama Al Islami – at least 31 transfers totaling $799,552 including one
                     transfer that was processed by Arab Bank’s New York Branch;

              (2)    Al Jam’iya Al Islamiya – at least 132 transfers totaling $2,673,467 including
                     39 transfers that were processed by Arab Bank’s New York Branch;

              (3)    Al Salah Islamic Society – Gaza – at least 147 transfers totaling
                     $15,236,322 including 61 transfers that were processed by Arab Bank’s
                     New York Branch;

              (4)    Islamic Charitable Society of Hebron – at least 177 transfers totaling
                     $9,457,768 including 91 transfers that were processed by Arab Bank’s New
                     York Branch;

              (5)    Jenin Zakat Committee – at least two transfers totaling $21,264 that were
                     processed by Arab Bank’s New York Branch;

              (6)    Nablus Zakat Committee – at least 55 transfers totaling $687,100 including
                     21 transfers that were processed by Arab Bank’s New York Branch;

              (7)    Tulkarem Zakat Committee – at least 64 transfers totaling $704,526
                     including 22 transfers that were processed by Arab Bank’s New York
                     Branch;




                                              64
Case 1:18-cv-02192-HG-PK           Document 25 Filed 07/05/18              Page 65 of 82 PageID #:
                                             174



               (8)     Ramallah Zakat Committee – at least 83 transfers totaling $862,815
                       including 37 transfers that were processed by Arab Bank’s New York
                       Branch;

               (9)     Al Islah Charitable Society – at least 32 transfers totaling $1,168,066
                       including 15 transfers that were processed by Arab Bank’s New York
                       Branch; and

               (10)    Al-Tadamun Charitable Society – Nablus – at least 48 transfers totaling
                       $648,395 including 16 transfers that were processed by Arab Bank’s New
                       York Branch.

        2.     Palestinian Islamic Jihad

        500.   PIJ committed numerous terrorist attacks, including several that killed and injured

American citizens.

        501.   During the Second Intifada, PIJ conducted and took credit for at least 28 murderous

attacks, including at least seven mass murder attacks that have killed at least 95 civilians, including

U.S. citizens such as Shoshana Ben-Yishai who was murdered on November 4, 2001 by a PIJ

terrorist.

        502.   As noted above, President Clinton issued Executive Order No. 12947 on January

23, 1995. Executive Order No. 12947 designated PIJ an SDT.

        503.   On October 8, 1997, PIJ was designated an FTO by the U.S. Government under the

AEDPA. The designation has since been renewed every two years, including in 2003.

        504.   In 2001, pursuant to Executive Order 13224, PIJ was designated an SDGT.

        505.   PIJ has established several da’wa organizations, including:

               a.      Al-Ihsan Charitable Society (a/k/a Elehssan);
               b.      Dar al-Huda Society;
               c.      Al-Jamaa al-Islamiya;
               d.      Islamic An-Naqqa Society for Women, Bethlehem; and
               e.      Cultural Forum of Palestinian Islamic Jihad Women.

        506.   On May 4, 2005 the U.S. Government designated Al-Ihsan an SDGT. According




                                                  65
Case 1:18-cv-02192-HG-PK            Document 25 Filed 07/05/18         Page 66 of 82 PageID #:
                                              175



to the press release announcing the designation, “Elehssan cooperated with PIJ to distribute funds

to the families of PIJ prisoners and deceased members …. Elehssan maintains lists of PIJ-

associated families who are to receive compensation – including the families of PIJ suicide

bombers.”

        507.    Arab Bank maintained accounts for Elehssan Charitable Society at its branch in

Gaza (Account No. 100379-8-500).

        508.    Arab Bank also maintained accounts for Elehssan Charitable Society at its branch

in Jenin – Account No. 578669 (500-Dinar) (510 USD) (570 NIS).

        509.    Arab Bank maintained accounts for Elehssan Charitable Society at its branch in

Bethlehem in USD (Account No. 717520-1-510), Israeli Shekel (Account No. 717520-1-570) and

Jordanian Dinar (Account No. 717520-1-500).

        510.    PIJ’s former website – www.jihadislami.com – exhorted its supporters to donate

funds to support “our jihad in Palestine” and listed Arab Bank’s accounts for Elehssan in Gaza,

Jenin and Bethlehem.

        511.    Arab Bank maintained accounts for Dar al-Huda Society in USD (Account No.

16782-7-510), Israeli Shekel (Account No. 17782-7-570) and Jordanian Dinar (Account No.

16782-7-500).

        512.    On March 12, 2003 the Government of Israel designated Al-Jamaa al-Islamiya as a

terrorist organization affiliated with the PIJ.

        513.    Arab Bank maintained accounts for Al-Jamaa al-Islamiya at its Ramallah branch,

(Account No. 666473).

        514.    Arab Bank also maintained accounts for Islamic An-Naqqa Society for Women,

Bethlehem, including its branch in Bethlehem (Account No. 706638-4-600).




                                                  66
Case 1:18-cv-02192-HG-PK          Document 25 Filed 07/05/18             Page 67 of 82 PageID #:
                                            176



        515.   Arab Bank was also used by PIJ’s Damascus, Syria’s headquarters as the conduit

of large sums of money to facilitate terrorism including transfers to PIJ leaders and cells in Jenin,

Ramallah and Bethlehem.

        516.   For example, Sheikh Bassam Sa’adi, the senior PIJ leader in Jenin and chairman of

Elehssan Charitable Society in 2002, was indicted in January 2004 for transferring funds to operate

terrorist activities, including multiple terrorist attacks in 2002 and 2003 in which more than 30

people were killed.

        517.   Sa’adi admitted that he had received a significant amount of money from PIJ

headquarters in Damascus and opened several accounts at Arab Bank.

        518.   Some of the money was transferred by Specially Designated Terrorist Dr. Ramadan

Shalah, PIJ’s Damascus-based Secretary General, to PIJ’s Jenin cell, including $127,000 to

support the families of suicide bombers.

        519.   Arab Bank held an account for senior PIJ commander from Jenin, Thabet Azmi

Suliman Mardawi, in the name of his mother Badriya Muhammad Nimer Mardawi (Account No.

569415).

        520.   Mardawi was involved in the planning and operations of numerous shooting attacks

and suicide bombings.

        521.   Mardawi admitted during his police interrogation that he received money from PIJ

headquarters in Damascus through a bank account under the name of an elderly woman or his own

name.

        522.   Mardawi was arrested by Israel in 2002 and sentenced to 21 life sentences,

        523.   Similarly, Riyad Fahri Aref Khalifa and Juma Abdallah Khalaf al-Taya organized

a PIJ cell in Ramallah and requested funds from Shalah in Syria.




                                                 67
Case 1:18-cv-02192-HG-PK         Document 25 Filed 07/05/18            Page 68 of 82 PageID #:
                                           177



        524.   Shalah instructed them to open a bank account to receive funds.

        525.   Al-Taya opened an account in Arab Bank in Ramallah under his mother in-law’s

name.

        526.   Arab Bank held accounts for the head of the Al-Quds Brigades in Bethlehem, Isa

Muhammad Ismail al-Batat, at least one of which was in the name of Hilwa Suliman Al-Batat -

Account Number 708060.

        527.   Al-Batat opened an account at Arab Bank’s Bethlehem branch to receive money

for the Al-Quds Brigades in Bethlehem.

        528.   Starting in 1998, al-Batat regularly received funds from PIJ headquarters in Syria.

        529.   Al-Batat was responsible for multiple PIJ car bombings and shooting attacks in

2001.

        530.   Arab Bank also held accounts for other senior PIJ terror operatives.

        531.   For example, Arab Bank held an account (518909) for Khaled Rayeq Muhammad

Hussein, a senior commander of the Al-Quds Brigades.

        532.   Arab Bank also held accounts for dozens of families of PIJ “martyrs” and prisoners

who received payments from PIJ and other organizations supporting PIJ’s violent activities.

        533.   For example, in the Ramallah area alone, Arab Bank maintained accounts for:

   Beneficiary’s name (agent)       Account number                       Name of prisoner

   Ibtisam Faruq Awda Ya’kub          654129-1-410           Ramadan Muhammad Awda Ya’kub

   Ibrahim Musa Obeidat               614801-8-510                   Musa Ibrahim Musa Obeidat

   Ahmad Mahmud Mustafa               658650-3-510                Hani Ahmad Mahmud Mustafa

   Amani Abd Al-Razeq Jaray’a         656424-0-510                       Hassan Ali Dhib Hamad

   Amna Ibrahim Salameh Falna         654059-7-510             Muhammad Fawzi Salameh Falna




                                               68
Case 1:18-cv-02192-HG-PK        Document 25 Filed 07/05/18    Page 69 of 82 PageID #:
                                          178



   Intisar As’ad Abu Safiyah       655388-5-510         Riyad Hasan Hader Abu Safiyah

   Intisar Muhammad Abu Zir        612704---510      Nuhammad Mustafa Ahmad Afana

   Ayman Muhammad Zayed            641001-4-510      Ayman Muhammad Nabhan Zayed

   Hassiba Yusef Ali Shehadah      654188-7-510      Ahmad Farid Muhammad Shehadah

   Hanan Ahmed al-Hudali           613371-1-510               Khaled Ibrahim al-Hudali

   Kholoud M. K Abu al-Bahaa       613615—500                Sami Yusef Ibrahim Husein

   Rihab al-Eid Mustafa Hammed     656425-9-510           Ahmed Balqawi Saleh M’utan

   Sa’id Ibrahim Awd               612913-7-510         Muhammad Sa’id Ibrahim Awd

   Salwa Abd al-Rahim Hamdan       655387-7-510       Muhammad Abd al-Aziz Hamdan

   Sumaya Musa Salameh Falna       654058-9-510     ‘Atta Mahmud Abd al-Rahman Falna

   Shukria Badawi al-Natsheh       611503-9-570        Yaqub Ishaq Murshid al-Natsheh

   Ayesh As’ad Abu Safiyah         614225---510              Ayesh Khader Abu Safiyah

   Adb al-Aziz Yusef Suliman       640317 – 510                     Muhammad Dawud

   Adnan Ibrahim al-Hanini         654824-1-510     Hazem Adnan Muhammad al-Hanini

   Fatima Yusef al-Rifa’i          613595-1-700           Ahmed Abd al-Jabar al-Rifa’i

   Fadwa Yihya Zalloum             657970-1-510          Ayman Abd al-Razeq Zalloum

   Fadwa Yihya Zalloum             657970-1-510       Nidal Abd al-Razeq ‘Izat Zalloum

   Falasteen Othman Nahla          640952-0-610      Mahmud Abd al-Fatah Ghawanmeh

   Leila Abd al-Hamid Ghawanmeh 612103-9-500             Ibrahim Mahmud Ghawanmeh

   Muna Mahrous Ragheb Kfoury 6120624-4-510               Imad Taher Ahmed Sandouqa

   May Ibrahim Abu al-Nasr        6552041-2-510        Ahmad Muhammad Abu al-Nasr

   Maysoon Saleh Dawud Shtaya      611779-1-500         Hassan Zakariya Dawud Shtaya




                                           69
Case 1:18-cv-02192-HG-PK          Document 25 Filed 07/05/18             Page 70 of 82 PageID #:
                                            179



       3.      The Al Aqsa Martyrs Brigade (“AAMB”)

       534.    Fatah was (and remains) the dominant political faction within the PA and the PLO.

       535.    Fatah maintains an account with Arab Bank, account number 21250 in the Amman

Branch.

       536.    AAMB emerged at the outset of the Second Intifada as a deniable arm of Fatah that

could compete with HAMAS and PIJ as a terror organization with a more Islamic flavor than

Fatah’s typically nationalist organizations.

       537.    AAMB committed numerous terrorist attacks, including several that have killed

and injured Americans citizens.

       538.    Since September 2000, AAMB has conducted and taken credit for dozens of

murderous attacks, including a pair of January 2003 suicide bombings in downtown Tel Aviv that

killed 23 people and injured approximately 100 others and a string of other attacks that have killed

more than 70 civilians and wounded more than 500 others.

       539.    In 2001, pursuant to Executive Order 13224, AAMB was designated an SDGT.

       540.    On March 21, 2002, the Secretary of State of the United States officially designated

AAMB an FTO.

       541.    During the relevant period, Fatah maintained an account with Arab Bank in

Amman, Jordan, and many members of its terror cells (Tanzim, Ahmad Abu al-Rish Brigades,

AAMB) received payments through Arab Bank from Hezbollah (al-Ansar) and/or the Saudi

Committee.

       542.    For example, Jamal Abd Rabo Muhammad Abu al-Jadyan was Fatah’s Secretary

General in the northern Gaza Strip, a Colonel in the Palestinian Presidential Security Force (Force

17) and one of the founders of AAMB in Gaza.




                                                70
Case 1:18-cv-02192-HG-PK          Document 25 Filed 07/05/18          Page 71 of 82 PageID #:
                                            180



          543.   In May 2001, Jamal Abd Rabo Muhammad Abu al-Jadyan directly received a Saudi

Committee prisoner payment.

          544.   Ra’ed Muhammad Sa’id al-Karmi was an AAMB founder and commander in

Tulkarem.

          545.   His family received payments from both the Saudi Committee (through Arab

Bank’s Tulkarem branch), and the Arab Liberation Front (“ALF”).

          546.   Jamal Abdallah Nawawira Abayat was deputy-head of AAMB. His family received

a Saudi Committee martyr payment in cash through Arab Bank’s Bethlehem branch.

          547.   Ahmad Ata Yusuf Abu Saltah was a senior AAMB member.

          548.   He received a Saudi Committee injury payment in cash through Arab Bank’s

Nablus branch.

          549.   Zuheir Muhammad As’ad Istiti was a senior AAMB operative involved in a number

of terror attacks.

          550.   Zuheir Muhammad As’ad Istiti’s family received payments from both the Saudi

Committee (through Arab Bank’s Jenin branch) and the Shahid Foundation, through Arab Bank’s

accounts for al-Ansar.

          551.   Arab Bank knowingly provided financial services to AAMB.

          552.   Arab Bank also knowingly provided Bank Account No. 628328 for the benefit of

AAMB founder and convicted (in 2004) terrorist, Marwan al-Barghuthi at its Ramallah-Al-Bireh

branch.

          553.   For example, Munir al-Maqdah, also known as Abu Hasan, transferred between

$40,000 and $50,000 for weapons, expenses, and bomb-making materials to the Arab Bank

account of Nasser Aweis, a senior Fatah operative, and instructed him to report back by telephone




                                               71
Case 1:18-cv-02192-HG-PK           Document 25 Filed 07/05/18             Page 72 of 82 PageID #:
                                             181



on the success of his attacks, such as the January 17, 2002 assault on the Hadera banquet hall that

resulted in the death of U.S. citizen Aharon Ben-Yisrael Ellis.

        554.    Tamer Rasem al-Rimawi was an AAMB operative responsible for a May 28, 2003

terrorist attack.

        555.    He later stated that in early 2001 he:

        received a telephone call from an officer at the Arab Bank in Ramallah, indicating
        that I should come to the Bank branch in Ramallah because they had money for me
        from the Saudi funds as a result of my first injury and hospitalization. I didn’t know
        the bank officer and had no account at the Arab Bank. But I went to the bank
        because everyone knew that if you were injured while participating in operations
        against Israel you would get money, and if you were killed then your family would
        get money. When I went to the bank I met with a bank officer who gave me a check
        from the Arab Bank in the amount of $1330.00 US dollars. I was told the money
        was because I was injured during an operation throwing stones; I signed the check
        which was not a check from a charity but actually a check on the account of the
        Arab Bank, and I was given $1330.00 in the US dollars at the Arab Bank.

        556.    Tamer Rasem al-Rimawi was paid $1,325.64 through Arab Bank’s branch in

Ramallah.

        557.    Muntasir Abu Ghalyun, one of the Tanzim commanders in Jenin who was involved

in financing and perpetrating a large number of terrorist attacks maintained an account for that

purpose at Arab Bank.

        558.    Numerous other AAMB operatives received payments through Arab Bank,

including, Alaa Suliman Hussein Abu Bakra, Sami Jawdat Barbakh, and many others.

        559.    Jihad Isma’il Ashur al-Umrayn, a senior AAMB commander in Gaza, received a

cash (prisoner) payment through Arab Bank from the Saudi Committee.

        560.    Murad Suliman Zuhdi Marshud, a senior AAMB commander in Nablus, who

recruited several suicide bombers, received a cash payment through Arab Bank from the Saudi

Committee.



                                                  72
Case 1:18-cv-02192-HG-PK          Document 25 Filed 07/05/18            Page 73 of 82 PageID #:
                                            182



       561.    Arab Bank facilitated Saudi Committee martyr payment in cash to the relatives of

AAMB operatives, including:

               a)     Mustafa Ahed Hasan Anbas
               b)     Mahmud Umar Ali Jaser
               c)     Abd al-Rahman Muhammad Abu Bakra
               d)     Ali Ibrahim Abd al-Rahman al-Julani
               e)     Amin Muhammad Hafez Sawafita
               f)     Dargham Izat Muhammad Zakarna
               g)     Hasan Muhammad Hasan al-Qadi
               h)     Husein Muhammad Salem Abayat
               i)     Ibrahim Muhammad Mahmud Hasuna
               j)     Akrama Muhammad Khader Istiti
               k)     Imad Hamdi Saleh Awd
               l)     Nidal Muhammad Tawfiq Aghbariya
               m)     Ra’fat Ibrahim Khalaf al-Bajali
               n)     Salem Taleb Salem al-Dar’awi
               o)     Umar Abd al-Fatah Hafez Yasin
               p)     Yaser Juma Abd al-Rahim al-Badawi
               q)     Yaser Sa’id Musa Awda
               r)     Ziyad Ibrahim Ayd Amer.


       4.      The Popular Front for the Liberation of Palestine (“PFLP”)

       562.    The Popular Front for the Liberation of Palestine was founded in the late 1960s

under the leadership of George Habash, its general secretary.

       563.    The PFLP was guided by a crude form of Marxism-Leninism and, together with

other left-wing Palestinian organizations, claimed to be struggling to build a working-class party.

       564.    The PFLP operates a number of organizations in the West Bank and Gaza as well

as internationally.

       565.    One example is the Union of Health Works Committees located in Gaza. It was

designated an unlawful organization by Israel in 2015.

       566.    The Union of Health Work Committees maintains an account in Arab Bank’s Gaza

Branch, account number 9500-470-7.




                                                73
Case 1:18-cv-02192-HG-PK              Document 25 Filed 07/05/18          Page 74 of 82 PageID #:
                                                183



          567.   The Health Work Committees located in Ramallah was also designated an unlawful

organization by Israel in 2015.

          568.   The Health Work Committees maintains an account in Arab Bank’s Al-Bireh

Branch, account number 624260.

          569.   During the Second Intifada, the PFLP tried to remain politically relevant by joining

in attacks against Israeli targets.

          570.   Senior leaders of the PLFP received Saudi Committee payments through Arab Bank

branches.

          571.   For example, Abd al-Rahman Nayef Yusuf al-Salibi, a member of PFLP’s Central

Committee, directly received a Saudi Committee prisoner payment through Arab Bank’s Gaza

branch.

          572.   Ahmad Abu al-Sa’ud Abd al-Razaq Hanani, another member of PFLP’s Central

Committee, received a Saudi Committee prisoner payment through Arab Bank’s Nablus branch in

2001.

          573.   Ahmad Abu al-Sa’ud Abd al-Razaq Hanani held Account Number 437398 at Arab

Bank’s Nablus branch.

          574.   Ali Saleh Ibrahim Darwish another member of PFLP’s Central Committee, directly

received a Saudi Committee prisoner payment through Arab Bank in 2001.

          575.   Ali Atiya Jaradat, a PFLP spokesman and a member of the movement’s Political

Bureau, directly received a Saudi Committee prisoner payment through Arab Bank in 2001.

          576.   Ali Atiya Jaradat held Account Number 309819 at Arab Bank’s Ayzariya branch.

          577.   Salah Abd Rabo Muhammad Abu al-Jadyan and Hasan Mahmud Hasan Labad,

prominent PFLP terrorists imprisoned for more than a decade for their terrorist activities, directly




                                                  74
Case 1:18-cv-02192-HG-PK              Document 25 Filed 07/05/18                   Page 75 of 82 PageID #:
                                                184



received Saudi Committee prisoner payments through Arab Bank’s Gaza branch.

       578.    In addition to the family of the suicide bomber who killed and injured numerous

victims on February 16, 2002 at the pizzeria in Karnei Shomron, including Hillel Trattner, Arab

Bank facilitated Saudi Committee prisoner payments in cash to PLFP operatives, including:

               a)       Dhib Uthman Ali al-Najar
               b)       Fawzi Talab Naser al-Wahidi
               c)       Imad Saleh Husein Abu Haya
               d)       Isa Mahmud Jaber al-Ghul
               e)       Muhammad Ibrahim Rajab Jarwan
               f)       Muhammad Maali Ubayd Samra
               g)       Ramadan Atiya Ibrhaim Abu Qamar
               h)       Rashid Muhammad Rashid al-Sidawi
               i)       Rashid Saleh Muhammad al-Mabhuh
               j)       Riyad Saleh Jaber al-Ghul.


D.     The Iranian Program in Support of the Martyrs

       579.    The Saudi Committee was not the only organization that supported and funded the

Second Intifada. There were also other organizations that transferred money in direct support of

the families of “martyrs” and prisoners, aiming at strengthening and encouraging the Palestinians

to continue the violence. Among these organizations were the Arab Liberation Front (“ALF”),

which operated in the Palestinian Territories (on behalf of the Iraqi dictator Saddam Hussein) and

the Lebanon-based Shahid Foundation, which was funded by Iran and operated in the Palestinian

Territories in cooperation with the Gaza-based al-Ansar society.7

       580.    The Shahid Foundation in Lebanon was designated an SDGT by the U.S.

Government on July 24, 2007.

       581.    The U.S. Treasury Department noted at the time that:
       The Martyrs Foundation is an Iranian parastatal organization that channels financial
       support from Iran to several terrorist organizations in the Levant, including
       Hizballah, Hamas, and the Palestinian Islamic Jihad (PIJ). To this end, the Martyrs

7
       Al-Ansar was designated an “illegal association” in Israel on October 24, 2003.


                                                      75
Case 1:18-cv-02192-HG-PK            Document 25 Filed 07/05/18              Page 76 of 82 PageID #:
                                              185



        Foundation established branches in Lebanon staffed by leaders and members of
        these same terrorist groups. Martyrs Foundation branches in Lebanon has also
        provided financial support to the families of killed or imprisoned Hizballah and PIJ
        members, including suicide bombers in the Palestinian territories.

        582.    The Shahid Foundation in Lebanon used the al-Ansar Society to distribute martyr

payments on behalf of Iran through its Arab Bank accounts.

        583.    On May 15 and 16, 2001 the Palestinian daily Al-Hayat Al-Jadida published an

announcement signed by al-Ansar, which called on families of martyrs that resided in the Gaza

Strip to arrive at the society’s offices (indicating its address in Gaza) to receive their money.

Families of martyrs from the West Bank were asked to send to a mail box in Gaza copies of official

documents, which proved their status as martyrs’ families, so that they could receive their money.

        584.    On July 1, 2001, Al-Hayat Al-Jadida published an announcement signed by al-

Ansar calling on the residents of the southern Gaza Strip to come and collect their due payments

in al-Ansar’s offices in Gaza. Residents of the West Bank, as well as the northern Gaza Strip, were

asked to arrive at the Arab Bank branch in which their account was managed in order to collect

their funds.

        585.    The documents the martyrs’ families from the West Bank had to provide included

the martyr’s identification card and his picture (if they had it), the beneficiary’s identification card,

a copy of the death certificate, and a copy of the birth certificate of the martyr’s sons if they had

them.

        586.    On its website, al-Ansar also identified its accounts with Arab Bank’s Al-Rimal

branch in Gaza. The website also expressed its goals explicitly:

        Al-Ansar opens its doors to the families of martyrs who seek it in order to register
        their martyrs, who, with their noble blood, have watered the pure soil of Palestine,
        drawing thereby the features and portrait of the coming freedom and the coming
        dawn. Al-Ansar follows their path and shares with their families and their parents
        the grief, the burden and the hope.



                                                   76
Case 1:18-cv-02192-HG-PK          Document 25 Filed 07/05/18            Page 77 of 82 PageID #:
                                            186



        587.   Arab Bank maintained multiple accounts for the Al-Ansar Society:

                     9600 -100541 – 211 (USD);
                     9600 -100541 – 510 (USD);
                     9600 -100541 – 511 (USD);
                     9600 -100541 – 512 (USD);
                     9600 -100541 – 513 (USD);
                     9600 -100541 – 570 (NIS);
                     9600 -100541 – 571 (NIS); and
                     9600 -100541 – 810 (USD).

        588.   On its website, the Shahid Foundation was even more direct by publishing lists of

Palestinian “martyrs” who received support from the foundation.

        589.   Its lists were in some ways more detailed than the Saudi Committee’s lists (both

those which were published on the Saudi Committee’s website and those which were sent to Arab

Bank) and included the dates of the martyr’s birth and death, as well as his organizational

affiliation (Fatah, HAMAS, PIJ, and the PFLP) or a statement, according to which the “martyr”

was allegedly a civilian, who was purportedly not involved with one of the terrorist organizations’

activities.

        590.   The Shahid Foundation’s web site listed various beneficiaries:
                  “Martyr #1” in the January 2002 list, Muhammad Abd al-Ghani Muhammad
                   Abu Jamus, is listed as a member of HAMAS in Gaza. HAMAS’ web site
                   confirms that he was indeed affiliated with HAMAS. It also confirms his date
                   of death. In addition, the Abu Jamus family received a martyr’s payment from
                   the Saudi Committee.

                  “Martyr #154” on the March 2002 list, Muhammad Ahmad Hilis, is also listed
                   as an Izz al-Din al-Qassam Brigades operative in Gaza / Al-Shuja’iya.
                   HAMAS’ website confirms this fact, as well as his date of death. His father
                   received a martyr’s payment from the Saudi Committee on June 6, 2002.

                  “Martyr #153” on the same list, Bilal Fayez Mustafa Shehada, is also identified
                   as an Izz al-Din al-Qassam Brigades operative. Bilal is a resident of Beit Hanun,
                   who was killed along with Muhammad Ahmad Hilis on the same date and
                   during the same attack. His father received a martyr’s payment from the Saudi
                   Committee on June 6, 2002.

        591.   The Shahid Foundation, through al-Ansar, also paid numerous Fatah terrorists,


                                                77
Case 1:18-cv-02192-HG-PK            Document 25 Filed 07/05/18             Page 78 of 82 PageID #:
                                              187



including those affiliated with AAMB, such as Abd al-Karim Umar Abu Na’isa, who committed

a terrorist attack in Afula, Israel in November 2001. Abu Na’isa’s family received payments from

the Shahid Foundation, the Saudi Committee and the ALF.

          592.   Arab Bank’s branches played a central and important role in transferring money on

behalf of Iran – through the Shahid Foundation and al-Ansar society.

          593.   The activities of al-Ansar were also the target of Israeli counter-terrorism measures

in two ways. First, al-Ansar was declared an “unlawful association” by Israel’s Ministry of

Defense on October 25, 2003. Second, its account was targeted by the Israeli security forces when

they raided bank branches in Ramallah in 2004 (including Arab Bank). In fact, on its website, al-

Ansar publicly denounced these measures:

        Al-Ansar Charitable Society denounces and condemns the criminal, sinful attacks
        of insane piracy committed by the forces of the occupation against the Palestinian
        banks in the city of Ramallah, which robbed the banks’ money that included, inter
        alia, the money of the martyrs who are sponsored by the society.

                                      CLAIMS FOR RELIEF

                                   FIRST CLAIM FOR RELIEF

           AIDING AND ABETTING FOREIGN TERRORIST ORGANIZATIONS
                       IN VIOLATION OF 18 U.S.C. § 2333(d)

        594.     Plaintiffs repeat and re-allege each and every allegation of the foregoing paragraphs

as if fully set forth herein.

        595.     Plaintiffs were all injured by acts of international terrorism as defined by 18 U.S.C.

§ 2331.

        596.     Plaintiffs injured in the Ben Yehuda Street Bombings of December 1, 2001, the

Karnei Shomron Pizzeria Bombing of February 16, 2002, the Mike’s Place Bombing – Tel Aviv

of April 30, 2003, the Sheffield Club Bombing of May 7, 2002, the Jerusalem Bus Shooting of




                                                  78
Case 1:18-cv-02192-HG-PK           Document 25 Filed 07/05/18              Page 79 of 82 PageID #:
                                             188



November 4, 2001, the Jaffa Road Bus #14A Bombing of June 11, 2003, and the Ariel Shooting

of October 27, 2002 assert claims under 18 U.S.C. § 2333(d) predicated on Arab Bank having

aided and abetted HAMAS, PFLP and PIJ (all FTOs at the time of the respective attacks).

        597.    Arab Bank provided substantial assistance to those FTOs by transferring significant

sums of money to those organizations and their operatives and maintaining bank accounts for their

organizations and senior operatives, knowing that the FTOs were so designated or knowing that

they engaged in terrorism and knowing the severity of the wrongful acts committed by these

organizations and their operatives.

        598.    Arab Bank’s acts were a substantial factor in causing those Plaintiffs’ injuries, and

those Plaintiffs’ injuries were a foreseeable result of the significant sums of money Arab Bank

provided to those FTOs, their leaders and operatives.

        599.    Plaintiffs allege that Arab Bank aided and abetted those FTOs within the meaning

of 18 U.S.C. § 2333(d) and within the legal framework of Halberstam v. Welch, 705 F.2d 472

(D.C. Cir. 1983), which Congress has found to provide “civil litigants with the broadest possible

basis” for relief against those “that have provided material support, directly or indirectly, to foreign

organizations or persons that engage in terrorist activities against the United States.” See Justice

Against Sponsors of Terrorism Act (“JASTA”), §2b.

                                 SECOND CLAIM FOR RELIEF

                  PROVIDING MATERIAL SUPPORT TO TERRORISTS
               IN VIOLATION OF 18 U.S.C. § 2339A AND 18 U.S.C. § 2333(a)

        600.    Plaintiffs repeat and re-allege every allegation of the foregoing paragraphs as if

fully set forth herein.

        601.    The extraordinary financial and administrative services that Arab Bank provided to

the terrorists, their families, and HAMAS, Fatah/AAMB, PFLP, and PIJ, included serving as the



                                                  79
Case 1:18-cv-02192-HG-PK              Document 25 Filed 07/05/18         Page 80 of 82 PageID #:
                                                189



exclusive administrator of the Saudi Committee payments program knowing that its support would

be used in preparation for, or in carrying out, numerous acts of international terrorism which

caused direct injury to Plaintiffs.

        602.    That knowing support was a substantial and foreseeable factor in causing Plaintiffs’

injuries.

        603.    As set forth more fully above, but for Arab Bank’s substantial assistance, the

funding of the Saudi Committee and Shahid Foundation payment programs for terrorists and the

families of terrorists would have been substantially more difficult to implement.

        604.    By participating in the commission of violations of 18 U.S.C. § 2339A that have

caused each of the Plaintiffs to be injured in his or her person, Defendant Arab Bank committed

acts of international terrorism and is liable pursuant to 18 U.S.C. § 2333(a) because its conduct

involved violent acts or acts dangerous to human life that were a violation of the criminal laws of

the United States, and in so doing Arab Bank’s conduct objectively appeared to be intended to

intimidate or coerce the civilian population of Israel and influence the policy of the Israeli and

American governments by intimidation or coercion, and its conduct transcended national

boundaries in terms of the means by which they were accomplished.

                                  THIRD CLAIM FOR RELIEF

               COMMITTING ACTS OF INTERNATIONAL TERRORISM
            IN VIOLATION OF 18 U.S.C. § 2339B(a)(1) AND 18 U.S.C. § 2333(a)

        605.    Plaintiffs repeat and re-allege every allegation of the foregoing paragraphs as if

fully set forth herein.

        606.    By knowingly participating in the commission of violations of 18 U.S.C. § 2339B

that have caused each of the Plaintiffs to be injured in his or her person, Defendant Arab Bank

committed acts of international terrorism and is liable pursuant to 18 U.S.C. § 2333(a) because its



                                                 80
Case 1:18-cv-02192-HG-PK          Document 25 Filed 07/05/18              Page 81 of 82 PageID #:
                                            190



conduct involved violent acts or acts dangerous to human life that were a violation of the criminal

laws of the United States and in so doing Arab Bank’s conduct objectively appeared to be intended

to intimidate or coerce the civilian population of Israel and influence the policy of the Israeli and

American governments by intimidation or coercion, and its conduct transcended national

boundaries in terms of the means by which they were accomplished.

       607.    Arab Bank knowingly provided HAMAS, Fatah/AAMB, PFLP, and PIJ with

material support as it is defined in 18 U.S.C. § 2339A and in so doing its conduct was a substantial

and foreseeable factor in causing Plaintiffs’ injuries and thereby making it liable to the Plaintiffs

under 18 U.S.C. § 2333(a).

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray that this Court:

               (a)     Accept jurisdiction over this action;

               (b)     Enter judgment against Arab Bank and in favor of each Plaintiff for

compensatory damages in amounts not less than those set forth herein and additional sums in

amounts to be determined at trial;

               (c)     Enter judgment against Arab Bank and in favor of each Plaintiff for treble

damages pursuant to 18 U.S.C. § 2333(a);

               (d)     Enter judgment against Arab Bank and in favor of each Plaintiff for any and

all costs sustained in connection with the prosecution of this action, including attorneys’ fees,

pursuant to 18 U.S.C. § 2333(a); and

               (e)     Grant such other and further relief as justice requires.


PLAINTIFFS DEMAND A TRIAL BY JURY ON ALL ISSUES SO TRIABLE.




                                                 81
Case 1:18-cv-02192-HG-PK   Document 25 Filed 07/05/18        Page 82 of 82 PageID #:
                                     191



Dated: July 5, 2018
       Hackensack, NJ


                                          OSEN LLC


                                   By:    /s/ Gary M. Osen
                                          Gary M. Osen, Esq.
                                          Ari Ungar, Esq.
                                          Peter Raven-Hansen, Esq., Of Counsel
                                          Aaron Schlanger, Esq.
                                          2 University Plaza, Suite 402
                                          Hackensack, New Jersey 07601
                                          (201) 265-6400

                                          ZUCKERMAN SPAEDER LLP
                                          Shawn P. Naunton, Esq.
                                          485 Madison Avenue, 10th Floor
                                          New York, NY 10022
                                          (646) 746-8655

                                          TURNER & ASSOCIATES, P.A.
                                          C. Tab Turner, Esq.
                                          4705 Somers Avenue, Suite 100
                                          North Little Rock, AR 72116
                                          (501) 791-2277

                                          KOHN, SWIFT & GRAF, P.C.
                                          Steven M. Steingard, Esq.
                                          Stephen H. Schwartz, Esq.
                                          Neil L. Glazer, Esq.
                                          1600 Market Street, Suite 2500
                                          Philadelphia, PA 19103
                                          (215) 238-1700

                                          Attorneys for Plaintiffs




                                     82
